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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  www.flsb.uscourts.gov

In re:

TINTO HOLDING LTDA.,                                          Chapter 15

      Debtor in a Foreign Proceeding.                         Case No.: 23-11719-MAM
_________________________________/                            Adversary No.: 23-01118-MAM

AJ RUIZ CONSULTORIA
EMPRESARIAL S.A., solely as Judicial
Administrator and foreign representative of
TINTO HOLDING LTDA,

         Plaintiff,
v.

COLORADO INVESTMENT HOLDINGS
LLC, J&F INVESTIMENTOS S.A., JJMB
PARTICIPAÇÕES LTDA., and WWMB
PARTICIPAÇÕES LTDA.

      Defendants.
_________________________________/

                                      NOTICE OF FILING

         Plaintiff AJ Ruiz Consultoria Empresarial S.A., solely as Judicial Administrator and

foreign representative of Tinto Holding Ltda. (“Tinto”), (“Plaintiff”), hereby gives notice of filing

the attached Redline of the Second Amended Complaint (DE190) compared to the Amended

Complaint (DE56).


Dated: October 24, 2024                               Respectfully submitted,
                                                      SEQUOR LAW, P.A.
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                                          By:    _s/ Nyana A. Miller______________
                                                 Nyana Abreu Miller
                                                 Florida Bar No. 92903
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                                      SERVICE LIST


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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  www.flsb.uscourts.gov

In re:

TINTO HOLDING LTDA.,                                                  Chapter 15
                                                                      Case No.: 23-11719-MAM
      Debtor in a Foreign Proceeding.
_________________________________/


AJ RUIZ CONSULTORIA
EMPRESARIAL S.A., solely as Judicial
Administrator and foreign representative of
TINTO HOLDING LTDA.,
      Plaintiff,                                                Adv. Case No. 23-01118-MAM

v.                                                               JURY TRIAL DEMANDED

COLORADO INVESTMENT HOLDINGS
LLC, J&F INVESTIMENTOS S.A., JJMB
PARTICIPAÇÕES LTDA., WWMB
PARTICIPAÇÕES LTDA., JOESLEY
MENDONÇA BATISTA, WESLEY
MENDONÇA BATISTA, and JBS S.A.,
      Defendants.
_________________________________/


                              SECOND AMENDED COMPLAINT

         Plaintiff AJ Ruiz Consultoria Empresarial S.A., solely as Judicial Administrator and

foreign representative of Tinto Holding Ltda. (“Tinto”), brings this Second Amended Complaint

against Defendants Colorado Investment Holdings LLC, J&F Investimentos S.A., JJMB

Participações Ltda., WWMB Participações Ltda., Joesley Mendonça Batista, Wesley Mendonça

Batista, and JBS S.A.

                                  NATURE OF THE ACTION

         1.     Plaintiff seeks to recover an ownership interest in JBS S.A. (“JBS”) that

Defendants unlawfully obtained from Tinto, a Brazilian agribusiness company. When obtained
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by Defendants, Tinto’s interest in JBS was worth approximately R$8.76 billion (USD$4.84

billion).1

        2.     Tinto should have obtained a large share of JBS by merging its greatest asset—a

majority equity stake in Bertin S.A., a large Brazilian meat-processing company—with JBS. But

through a series of transactions between 2009 and 2014 connected to that merger, Defendants

siphoned significant value out of Tinto, to the detriment of Tinto’s estate and creditors.

        3.     Defendants Joesley Mendonça Batista and Wesley Mendonça Batista (together,

the “Batistas”) are the ultimate beneficial owners of Defendant Colorado Investment Holdings

LLC (formerly known as Blessed Holdings LLC) (“Colorado”). They also own (wholly or in

significant part) Defendants J&F Investimentos S.A. (formerly known as J&F Participações

S.A.) (“J&F”), JJMB Participações Ltda. (“JJMB”), WWMB Participações Ltda. (“WWMB”),

and JBS. The Batistas—by and through Colorado and J&F—engineered the transactions that

drained Tinto of its value for their personal benefit. That value is now in the possession of

Colorado, JJMB, and WWMB.

        4.     Mainly because of these transactions, which stripped away Tinto’s most critical

asset, a Brazilian bankruptcy court placed Tinto into liquidation on November 29, 2018. That

court appointed Plaintiff as Tinto’s judicial administrator. On May 24, 2023, that court

authorized Plaintiff to bring this suit; on September 5, 2023, that court authorized Plaintiff to file

thisan Amended Complaint; and on September 13, 2024, this Court authorized Plaintiff to file

this Second Amended Complaint.

        5.     Plaintiff now brings claims for unjust enrichment, claims for and aiding and



        1
         Plaintiff provides approximate conversions of monetary figures from Brazilian reals
into U.S. dollars (using the historic conversion rate on or about the relevant dates at issue) only
for the Court’s convenience.
                                                  2
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abetting breach of fiduciary duty under New York law, and claims under the Brazilian

Bankruptcy Law and the Brazilian Civil Code, including claims under Articles 166 and 167 of

the Brazilian Civil Code (null and void transaction); Article 129 VI of the Brazilian Bankruptcy

Law (transfer of establishment); and Articles 186, 187, and 927 of the Brazilian Civil Code

(illicit acts) to recover from Defendants the shares they wrongfully obtained and the tax liability

Tinto incurred as a result. Plaintiff also brings a veil-piercing claim under Article 50 of the

Brazilian Civil Code and Article 82-A of the Brazilian Bankruptcy Law to hold Defendants

liable for the debts of Tinto’s debts to its creditors.

                                               PARTIES

        6.      Plaintiff AJ Ruiz Consultoria Empresarial S.A. has its principal place of business

at Rua Lincoln Albuquerque, No. 259, 13th Floor, Suite 131, São Paulo, Brazil 05004-010. It

appears solely as judicial administrator and foreign representative of Tinto. Brothers Silmar

Bertin and Natalino Bertin managed Tinto until the Brazilian bankruptcy court appointed a

judicial administrator on November 29, 2018.

        7.      Defendant Colorado Investment Holdings LLC is a domestic limited-liability

company organized and existing under the laws of the State of Delaware.

        8.      Defendants Joesley Mendonça Batista and Wesley Mendonça Batista, Brazilian

nationals, are the ultimate beneficial owners of Colorado. Until 2011, the Batistas, along with

certain of their family members, were also the majority shareholders of JBS. Since then, they

have continued to be the largest shareholders of the company. Joesley Batista was the Chief

Executive Officer and Chairman of JBS from 2007 to 2011. Wesley Batista was the Chief

Executive Officer of JBS from 2011 to 2017. Joesley Batista owns a residence in New York.

Wesley Batista maintains a residence in New York. Until recently, and during all relevant times,

Wesley Batista maintained a residence in Colorado, which he periodically lived in and frequently

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visitedvisits for business and personal reasons.

       9.      Defendant JBS S.A. is a Brazilian agribusiness company. It is publicly traded,

with its American Depositary SharesReceipts listed on the New York Stock Exchange under the

ticker symbol “JBSAY.” It is currently seeking to directly list its shares on the New York Stock

Exchange, and has filed a registration request with the United States Securities and Exchange

Commission to accomplish this goal. JBS has more than 75 subsidiaries in 18 different U.S.

states, including one located in Miami, Florida; employs almost 70,000 people in the United

States; and makes more than 50% of its worldwide revenue in this country.

       10.     Defendant J&F Investimentos S.A. is a Brazilian entity that, during the events

described below, was majority-owned and controlled by the Batistas and their affiliates. Today,

it is wholly owned and controlled by Defendants Joesley and Wesley Batista. At all times during

the events described below, J&F held a significant indirect stake in JBS.

       11.     Defendants JJMB Participações Ltda. and WWMB Participações Ltda. are

Brazilian entities. Together, the Batistas wholly own JJMB and WWMB, with Joesley Batista

owning 99.999% of JJMB and Wesley Batista owning 99.999% of WWMB.

       12.     The Batistas, JBS, J&F, JJMB, and WWMB all directly or indirectly hold (or held

during the events described below) significant stakes in major U.S. companies, including

Smithfield Beef Group Inc., Swift & Company, and Pilgrim’s Pride Corporation. On

information and belief, both Joesley Batista and Wesley Batista traveled to the United States

numerous times to conduct business, including with J.P. Morgan in New York, in their capacities

as (i) directors and officers of J&F, JJMB, and WWMB, and JBS; and (ii) the ultimate beneficial

owners of Colorado.

                                  RELEVANT NONPARTIES

       13.     Bertin S.A. was a Brazilian agribusiness company indirectly owned, through

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Tinto, by brothers Silmar Bertin and Natalino Bertin and their families. Tinto’s equity stake in

Bertin S.A. was its most significant asset. Silmar and Natalino Bertin managed Tinto until the

Brazilian bankruptcy court appointed a judicial administrator on November 29, 2018.

       14.        Silmar Bertin and Natalino Bertin are Brazilian nationals who, alongside their

families, will be referred to as the “Bertins.” The Bertins founded, own, and manage a large

Brazilian conglomerate operating in multiple sectors, including agriculture, energy, and

infrastructure.

       15.        Specific corporate entities beneficially owned by the Bertins that are relevant to

this Second Amended Complaint include: (i) the Bertin family’s main holding company, Heber

Participações S.A. (“Heber”); and (ii) two other Bertin-affiliated agribusiness companies,

Comapi Agropecuaria S.A. (“Comapi”) and Mafrip Matadouro Frigorífico Rio Pardo S.A.

(“Mafrip”).

       16.        ZMF Fundo de Investimento em Participações (“ZMF FIP”) is another Batista-

owned fund that appears in several transactions detailed below.

                                   JURISDICTION AND VENUE

       17.        This Court has subject-matter jurisdiction under 28 U.S.C. § 1334(b), as this is a

civil proceeding related to a case under title 11, Case No. 23-11719-MAM (Chapter 15), and the

outcome of this proceeding substantially affects Tinto’s estate.2 in the Brazilian Bankruptcy

Proceedings.2 The location of relevant property interests does not affect the Court’s subject-

matter jurisdiction to hear claims in adversary proceedings like this one. A foreign

representative may “sue in a court in the United States or to collect or recover a claim which is


       2
         Plaintiff consents to the Bankruptcy Court’s entry of final orders, except that Plaintiff
reserves the right to move to withdraw the reference to request a jury trial.
       2
         Plaintiff consents to the Bankruptcy Court’s entry of final orders, except that Plaintiff
reserves the right to move to withdraw the reference to request a jury trial.
                                                    5
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the property of the debtor” regardless of whether there is a pending Chapter 15 proceeding. 11

U.S.C. § 1509(f). If a Chapter 15 proceeding is recognized, as here, 11 U.S.C. § 1521(a)(5)

provides that one of the forms of relief a court may grant at a foreign representative’s request is

“entrusting the administration or realization” of assets “within the territorial jurisdiction of the

United States.” But it does not limit the Court’s subject-matter jurisdiction to hear claims under

§ 1334(b).

        18.     Venue is proper in the Southern District of Florida under 28 U.S.C. § 1409(a)

because Plaintiff is a foreign representative in a chapterChapter 15 proceeding under title 11 in

this District. That is all that is required to establish venue for this case.

        19.     Venue for the underlying Chapter 15 proceeding is also appropriate. The Chapter

15 case could be commenced wherever “the debtor has its principal place of business or principal

assets in the United States.” 28 U.S.C. § 1410(1). If the debtor “does not have a place of

business or assets in the United States,” then venue is appropriate wherever there is an action

“pending against the debtor.” 28 U.S.C. § 1410(2). If no such district court existed, then the

case could proceed wherever “venue w[ould] be consistent with the interests of justice and the

convenience of the parties, having regard to the relief sought by the foreign representative.” 28

U.S.C. § 1410(3). Venue in this district is appropriate because the estate of Tinto has retained

Sequor Law, P.A. (“Sequor Law”), in this district and Sequor Law holds in its trust account in

this district approximately USD$1,500.00 on behalf of and for the benefit of Tinto, to which

funds Sequor Law has no rights of setoff, charging lien, or similar right.

        20.     Venue here is also appropriate for the convenience of the parties. Miami is one of

only six cities in the United States with direct flights to São Paulo (which will benefit the parties

and any Brazilian witnesses who appear at trial). And a private jet registered to J&F, and used



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almost exclusively by the Batistas, has landed in Miami six times this year. Moreover, JBS has a

subsidiary in Miami, the Batistas previously used J&F to purchase a condominium in Miami, and

Joesley Batista moved his superyacht to Miami, where it appears currently to be available for

charter.

       21.     This Court has personal jurisdiction over each Defendant. Bankruptcy Rule 7004

authorizes personal jurisdiction to the extent consistent with due process requirements. If a

bankruptcy court has subject-matter jurisdiction under 28 U.S.C. § 1334, the relevant forum is

the United States and not the state where the court is located.

       22.     The Court has general personal jurisdiction over Defendants Colorado Investment

Holdings LLC and JBS S.A. because these Defendants are at home in the United States.

Colorado is a domestic limited-liability company organized and existing under the laws of the

State of Delaware. JBS has such continuous and systematic contacts with the United States that

it is essentially at home. For example, JBS receives fifty-one percent of its revenue and forty-

nine percent of its income from the United States—double the revenue and almost four times as

much income as it receives from its place of incorporation. In short, the United States is, by far,

JBS’s biggest market. Indeed, over a quarter of JBS’s global workforce is in the United States.

Currently, JBS is a publicly traded company with American Depositary Receipts trading in the

U.S. over-the-counter securities market, and it is a public reporting company in the United

States, subject to reporting, disclosure control, and other applicable obligations under the

Exchange Act, Sarbanes-Oxley Act, and Dodd-Frank Act. But JBS is seeking to list its shares on

the New York Stock Exchange, the flagship stock exchange located in the country where JBS

does most of its business. And JBS has represented in filings related to its proposed listing that it

has significant ties to the U.S. market, including by naming the United States as a key



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geographical location where it operates its business. In fact, the United States is the only

location JBS listed as a key geography it operates in for all three divisions of the global protein

market: beef, pork, and chicken.

       23.     As explained under each count of this Second Amended Complaint, the Court

also has specific jurisdiction as to each Defendant because Defendants purposefully availed

themselves of the benefits of conducting activity in the United States, and Plaintiff ’s claims arise

out of or relate to Defendants’ contacts with the United States.

                                   STATEMENT OF FACTS

I.     Background.

       24.     19. José Batista Sobrinho, patriarch of the Batista family, founded JBS in 1953. It

has grown ever since. Today, JBS operates globally—including in the United States—and is

among the world’s largest meat-processing companies. José Batista Sobrinho has several

children, including Defendants Joesley Batista and Wesley Batista, who have helped run the

company. Since JBS’s founding, the number of entities owned by and affiliated with the Batistas

has grown to include—among many others—Colorado, J&F, JJMB, WWMB, and nonparty

ZMF FIP.

       25.     20. During the late 2000s, the Batistas led JBS on a spree of international

expansion. JBS bought a series of agribusiness and meat-processing companies across the globe,

including the U.S.-based companies Smithfield Beef Group Inc., Swift & Company, and

Pilgrim’s Pride Corporation.

       26.     21. Many of these acquisitions relied on funding from BNDES Participações S.A.

(“BNDES”), Brazil’s National Bank for Economic and Social Development. That funding, in

turn, relied on outright corruption. As Joesley Batista explained in sworn deposition testimony,

the Batistas bribed the then-Brazilian Minister of Finance (who also happened to be the former

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President of BNDES) to obtain loans from BNDES. The Batistas paid some of these illicit

bribes through a hidden, wholly owned Panamanian company—Lunsville International, through

which, as discussed below, they beneficially owned Colorado. The Batistas also paid some of

these bribes to a J.P. Morgan bank account in the United States. And they relied on their bribes

to receive the BNDES funding helped the Batistas andnecessary for JBS to acquire Bertin S.A. in

2009—the transaction that lies at the heart of this Second Amended Complaint.

       27.     22. The Bertins incorporated Bertin S.A. in October 2007. Shortly after, the

Bertins directed Tinto (then known as Bracol Ltda.) to transfer all its operating assets to the

newly formed Bertin S.A. At the time, Tinto held a large meatpacking business and about R$1

billion (USD$550 million) in agricultural real estate. After the transfer, Bertin S.A. became a

direct subsidiary of Tinto—and Tinto’s primary asset.

       28.     23. Later that year, Bertin S.A. applied to BNDES for financial support. The

application to BNDES requested capital for several purposes, including the acceleration of Bertin

S.A.’s contemplated initial public offering. BNDES agreed to provide the requested capital.

       29.     24. Market downturns in 2008 made it difficult for the Bertins to take the

company public. Instead, the Bertins considered partnering Bertin S.A. with a company that was

already public. The Bertins first approached Marfrig Global Foods S.A., a large, publicly traded

Brazilian meatpacker, about a potential merger. But the conversations did not pan out. By 2009,

Defendant Joesley Batista had approached the Bertins and suggested that Bertin S.A. merge with

JBS. Joesley Batista and Wesley Batista soon after reached an agreement with the Bertins.3



       3
          This was not the first collaboration between the Bertins and the Batistas. Natalino
Bertin, for example, partnered with Defendant Joesley Batista in a business venture six years
earlier. The relationship would continue to develop. In 2011, J&F acquired another Bertin-
affiliated company, Bertin Higiene e Limpeza, in the cosmetics and cleaning-products industry.
Natalino Bertin would also later sit on the board of directors of JBS from 2011 to 2013.
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II.    Public Merger Structure.

       30.     25. On September 16, 2009, JBS and Bertin S.A. announced the signing of an

association agreement memorializing their intent to merge (the “Association Agreement”). A

JBS press release disclosed portions of the intended merger structure.

       31.     26. Under the Association Agreement, the controlling shareholders of JBS—J&F

and ZMF FIP—would contribute all their shares of JBS to a newly formed holding company.

Similarly, Tinto would contribute all its shares of Bertin S.A.—representing 73.1% of Bertin

S.A.—to the same holding company. The newly formed holding company would thus be the

controlling shareholder of both JBS and Bertin S.A. JBS would then absorb the operations of

Bertin S.A.

       32.     27. The merger depended on JBS successfully obtaining a USD$2.52 billion

private subscription in its U.S. subsidiary from an undisclosed party (. This undisclosed party

was later revealed asto be BNDES). As discussed, the Batistas later admitted to paying bribes to

key Brazilian government and BNDES officials to obtain these funds. The Batistas paid these

bribes through U.S. bank accounts. JBS would use thethese ill-gotten funds to acquire Pilgrim’s

Pride Corporation in the United States.

       33.     28. At the time of the Association Agreement, the ownership of Bertin S.A.

looked like this:




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Figure 1: The accurate and represented corporate structure of Bertin S.A. prior to signing of the Association Agreement.

        34.       29. At that same time, JBS was majority-owned by the Batistas—but just barely.

To raise capital for the purchase of several U.S. meatpackers, JBS had issued new equity to

BNDES and other Brazilian state-owned entities, including the investment fund PROT Fundo de

Investimento em Participações (“PROT FIP”). These issuances had significantly diluted the

Batistas’ ownership. In fact, at the time of the Association Agreement, the Batistas maintained

majority control over JBS with a mere 50.11% stake through holding entities J&F (44%) and

ZMF FIP (6.11%):




 Figure 2: The accurate and represented corporate structure of JBS S.A. prior to signing of the Association Agreement.

        35.       30. The Batistas created several entities in anticipation of the merger, as

contemplated by the Association Agreement. A week after signing the Association Agreement,

the Batistas incorporated FB Participações (“FB Par”), the holding company that would later


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receive the majority interests of JBS and Bertin S.A. In December 2009, at the direction of the

Batistas and their corporate group, the Bertins also incorporated a new entity, Bertin Fundo de

Investimento em Participações (“Bertin FIP”),4 to hold Tinto’s interest in Bertin S.A. and to later

receive the Bertins’ interest in FB Par.

       36.       31. As a result, in preparation for the merger, JBS’s and Bertin S.A.’s corporate

structures looked like this:




             Figure 3: Both the accurate and represented corporate structures of Bertin S.A. and JBS S.A.
                          in December 2009, in preparation for the JBS-Bertin S.A. merger.

       37.       32. Tinto, J&F, and ZMF FIP contributed their respective Bertin S.A. and JBS

shares to FB Par in December 2009. On December 31, 2009, at a special general meeting of JBS

shareholders, the company’s controlling shareholders approved the merger and dissolution of

Bertin S.A. by JBS.




       4
         Bertin FIP has since been renamed Pinheiros Fundo de InvestimientoInvestimento em
Participações Multiestratégia.
                                                         12
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        38.      33. Under the merger structure disclosed to the public, Tinto was to receive nearly

28.7% of JBS5 in exchange for 73.1% of Bertin S.A:




 Figure 4: The post-merger corporate structure of JBS S.A. that the Batistas and the Bertins represented to the public.

        39.      34. But that is not what happened.

III.    Concealed Merger Structure and Share Transfers.

        40.      35. The public statements by JBS and Bertin S.A. obscured the true, hidden

merger structure conceived by the Batistas and the Bertins, which neither family has (to this day)

ever fully disclosed. Indeed, the companies’ public statements failed to disclose several steps

and transactions taken by the Batistas, the Bertins, and their corporate groups in connection with

the merger. As a result of at least three covert, below-market share transfers, which Tinto

entered into under the direction and control of the Bertins and Defendants, and at least one of

which appears potentially to be a sham transaction intended to conceal the true purchase price for


        5
         Under the proposed merger structure disclosed to the public, and in line with the value
ascribed to the two companies, Tinto would hold 100% of Bertin FIP, which would in turn hold
48.52% of FB Par, which would in turn hold 59.13% of JBS.
                                                          13
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some of Tinto’s shares, to conceal JBS’s role in the transfers, or both, Tinto transferred its

expected 28.7% stake in JBS away in exchange for nearly nothing.

       41.      36. Four months before the merger, on August 12, 2009, the Bertins entered into a

private and undisclosed agreement with the Batistas and J&F (the “Initial Merger Agreement”),

which functioned as a letter of intent for the future JBS-Bertin S.A. merger. Tinto, despite

holding the entirety of the Bertins’ interest in Bertin S.A., was not a signatory to the Initial

Merger Agreement.

       42.      37. Under the Initial Merger Agreement, Tinto would transfer its entire equity

stake in Bertin S.A. to the Batistas. In exchange, the Batistas and J&F agreed to pay R$750

million (USD$409.43 million) in cash to the Bertins’ primary holding company, Heber. Heber

would receive the remaining balance of the purchase price—which, at that point, was still

undecided—in JBS shares. Tinto would receive nothing.

       43.      38. The parties also agreed to cap the ownership stake in JBS that the Bertins

could acquire through the transaction. They executed an amendment to the Initial Merger

Agreement on the same day that granted J&F the option to repurchase, for the nominal sum of

R$1.00 (USD$0.55), any ownership of JBS in excess of 10% that the Bertins received from the

transaction.

       44.      39. To facilitate that transfer of assets, the Batistas and J&F directed the Bertins to

place Bertin S.A. into a Fundo de Investimento em Participações (“FIP”), a Brazilian investment

fund—Bertin FIP. But this, too, benefited only the Batistas.

       45.      40. Joesley Batista, Wesley Batista, Colorado, J&F, JJMB, and WWMB

ultimately acquired Tinto’s interest in Bertin FIP for trivial amounts. But JBS was obligated to

publicly declare the value of new equity issued during the JBS-Bertin S.A. merger—and by



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extension, the value of Bertin S.A. during the merger. The Batistas corrupted the FIP structure

allowed the Batistas toto unlawfully disguise the discrepancy between that value and the amount

that Joesley Batista, Wesley Batista, Colorado, and J&F paid for the shares of Bertin FIP in

private transactions. Under Brazilian law, a purchaser of shares in a FIP does not need to

disclose the price of those shares. By purchasing shares of Bertin FIP—which was formed only

to hold shares of Bertin S.A., and functionally comprised only those shares—instead of directly

purchasing Bertin S.A., the Batistas could avoid reporting a value contradictory to the value of

Bertin S.A. implicitly declared during the merger.

       46.       41. The FIP also provided secrecy. Bertin FIP was not subject to the same

reporting requirements as Tinto. The Batistas would have had to report their acquisition of

TintoBertin S.A. shares—but not their acquisition of Bertin FIP shares.

       47.       42. Use of the FIP structure caused Tinto to accrue significant tax liability. The

transfers of Bertin FIP shares took place at prices so far below the market value of Bertin S.A.

that Tinto incurred no capital gains taxes. Once the discrepancy between these prices and the

publicly declared value of Bertin S.A. during the JBS-Bertin S.A. merger came to light, the

Brazilian tax authority levied significant fines and interest charges on Tinto, far in excess of any

capital gains taxes that Tinto would have initially owed.

       48.       43. Once this necessary corporate structure was in place, Defendants began their

covert scheme.

       A.        First Share Transfer.

       49.       44. On December 24, 2009, one week before the merger, the beneficial ownership

of Bertin S.A.—through Bertin FIP—underwent a dramatic change. Under the direction and

control of the Bertins and the Batistas, Tinto entered into a share-transfer agreement (the “First

Share-Transfer Agreement”) with the Delaware-based Colorado, then known as Blessed

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Holdings LLC.

       50.      45. Under the First Share-Transfer Agreement, Tinto transferred 65.8% of Bertin

FIP to Colorado. At that time, 65.8% of Bertin FIP amounted to 48.1% of Bertin S.A. Bertin

S.A. was valued at R$11.988 billion (USD$6.8 billion), meaning that a 65.8% stake in Bertin

FIP was worth R$5.76 billion (USD$3.27 billion). Yet Colorado agreed to pay just

USD$10,0006 to Tinto in exchange for it. And Tinto never received even this trivial sum. The

First Share-Transfer Agreement included a confidentiality clause, under which the parties agreed

to keep even the existence of the agreement a secret.

       51.      46. According to Natalino Bertin’s July 2019 formal testimony before the

Brazilian Chamber of Deputies, Joesley Batista first introduced Colorado as a U.S.-based

investor to the Bertins during the merger negotiations. J.P. Morgan in New York served as

Colorado’s global custodian during the events.7 But Joesley Batista’s representation was a lie:

Colorado was in fact a Batista-controlled entity, established by J.P. Morgan as a Delaware entity

barely a week before the parties signed the First Share-Transfer Agreement. Joesley Batista

directed his J.P. Morgan bankers in New York to structure Colorado as a hidden Delaware

vehicle for the Batista family. The Batistas purposefully concealed their control of Colorado,

which J.P. Morgan and the Batistas designed solely to receive Tinto’s interest in Bertin FIP for

the Batistas’ benefit.

       52.      47. Furthermore, because Tinto sold its shares at a loss, it avoided paying capital

gains on the transaction.




       6
      The First Share-Transfer Agreement stated this purchase price in U.S. dollars.
USD$10,000 was approximately equivalent to R$17,620 at the time.
       7
           J.P. Morgan has been a major financial advisor of JBS and the Batistas since JBS’s IPO.
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       53.     48. After the First Share Transfer and before the JBS-Bertin S.A. merger, JBS’s

and Bertin S.A.’s true corporate structures looked like this:




                    Figure 5: The accurate corporate structures of Bertin S.A. and JBS S.A.,
                       immediately after the First Share Transfer and before the merger.




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       54.     49. After completion of the JBS-Bertin S.A. merger, Colorado’s interest in Bertin

FIP converted from an indirect interest in Bertin S.A. to an indirect interest in JBS. The post-

merger company’s true corporate structure then looked like this:




                Figure 6: The accurate corporate structure of JBS S.A. immediately post-merger.

       55.     50. Tinto should have held nearly 28.7% of JBS after the merger. But because of

the First Share-Transfer Agreement, Tinto was instead left with 9.81% of the company—a

USD$3.27 billion reduction in value traded away for nothing.

       B.      Second Share Transfer.

       56.     51. Nearly a year later, on November 11, 2010, and again under the direction and

control of the Bertins, the Batistas, and Colorado, Tinto executed another share-transfer

agreement (the “Second Share-Transfer Agreement”) with Colorado. Under the Second Share-

Transfer Agreement, Tinto transferred a 19.51% interest in Bertin FIP (which represented more

than half its remaining interest in the fund) to Colorado. At the time, 19.51% of Bertin FIP

equaled an approximate 5.16% stake in JBS. This interest was worth approximately R$1.7

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billion (USD$993.65 million). In exchange, Colorado agreed to transfer to Tinto R$17,000.00

(USD$9,883.72)—an amount that, again, Tinto never received. Once again, because Tinto sold

its shares at a loss, it did not incur capital gains in this transaction. At this time, Tinto remained

unaware that the Batistas were the true beneficial owners of Colorado. Again, the Second Share-

Transfer Agreement included a provision directing the parties to keep the existence of the

agreement confidential.

        57.     52. After the Second Share Transfer, JBS’s true corporate structure looked like

this:




        Figure 7: The accurate corporate structure of JBS S.A. immediately after the Second Share Transfer.

        58.     53. The First and Second Share-Transfer Agreements together stripped away the

majority of Tinto’s assets, with nothing given in return. Yet Joesley Batista, Wesley Batista, and

Colorado profited greatly. Through the First and Second Share-Transfer Agreements, Colorado

received an asset worth R$7.46 billion (USD$4.26 billion) in exchange for R$34,620

(USD$19,883.72), which Colorado never paid. Joesley Batista, Wesley Batista, and their

corporate groups successfully increased their collective majority stake in JBS from 50.11% to

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50.63%, despite issuing new equity in the merger.

       59.     54. But for Tinto, only a sliver remained of its once-valuable meatpacking

business. The harm was considerable: In 2008, Tinto reported consolidated gross revenues of

more than R$8.42 billion (USD$4.73 billion). By 2011, after the merger and First and Second

Share Transfers, that figure had dropped to R$93.69 million (USD$51.59 million). This despite

Tinto’s considerable liabilities remaining in the hundreds of millions of reais. By April 2012, the

Bertins had moved Tinto out of their core holding company, Heber, and transferred it to Riober

Participações Ltda., a secondary Bertin-affiliated holding company owned by Natalino Bertin.

       C.      Events Between the Second and Third Share Transfers.

       60.     55. Tinto’s remaining interest in Bertin FIP was transferred away in 2014. But

before that third transfer, two notable events took place.

       61.     56. First, having seen a dramatic decrease in revenue because of the First and

Second Share Transfers, Tinto began to financially struggle and took out a loan from Banco do

Brasil S.A. in order to meet its obligations as they became due. This loan was collateralized on

certain of Tinto’s shares of Bertin FIP.

       62.     57. Second, on December 31, 2013, Bertin FIP—by this point, majority-owned by

Colorado—became a shareholder of J&F, as part of the Batistas’ reorganization of the corporate

structure of various Batista-affiliated entities. Before, Bertin FIP and J&F shared ownership of

FB Par. But under the direction and control of the Bertins, the Batistas, and Colorado, Bertin

FIP used its shares of FB Par to raise the equity needed to join J&F. Going into 2014, the actual

corporate structure of JBS thus looked like this:




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        Figure 8: The accurate corporate structure of JBS S.A. immediately before the Third Share Transfer.

       D.       Original Third Share Transfer.

       63.      58. A few months later, on June 15, 2014, Tinto, Comapi (another agribusiness

company in the Bertin corporate group), the Bertins,November 18, 2013, once more under the

direction and control of the Bertins, the Batistas, and Colorado, Tinto executed another share-

transfer agreement, this time with J&F, and JBS, with the Batistas executed a third share-

transfer agreement (the “joining as guarantors of J&F (the “Original Third Share-Transfer

Agreement”).

       64.      Under the Third Share-Transfer Agreement,this agreement (and pursuant to

various ancillary settlement instruments and fund-transfer agreements) the Bertins transferred to

J&F the rest of Tinto’s ownership interest in Bertin FIP (which amounted to around 1.5% of

JBS), to J&F. They also transferred Tinto’s equity stake in Mafrip (another agribusiness

company in the Bertin corporate group) and other property to J&F, and somemultiple parcels of



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real estate to JBS. And Tinto agreed to file a petition to withdraw from certain litigation

involving the shares.

        65.     59. In exchange, J&F agreed to pay Tinto R$334620 million (USD$149.51277.51

million) in cash.8Under the Third Share-Transfer Agreement, Tinto was directed to use, of which

R$130 million (USD$58.19 million) of those proceedswas to be used to repay the prior loan

itTinto had taken out fromwith Banco do Brasil (and thereby release a lien that Banco do Brasil

had on Tinto’s remaining shares in Bertin FIP). Tinto’s repayment of those debts would

eliminate Banco do Brasil’s security interest over Bertin FIP shares that, by the time of the Third

Share-Transfer Agreement, were held by Colorado.Tinto’s remaining shares in Bertin FIP. An

additional R$60 million was to be used to purchase two parcels of land, one of which would be

transferred to JBS, and one to Tinto. The remainder was to be paid in installments over

approximately 30 months.

        66.     60. As a result of thethis Third Share-Transfer Agreement, Tinto relinquished the

rest of its interest in Bertin FIP (and indirectly in JBS). After losing its interest in Bertin FIP,

Tinto slid into insolvency. Batista-controlled entities became the full owners of Bertin FIP.

        E.      Revised Third Share Transfer.

        67.     Seven months after the Original Third Share-Transfer Agreement, on June 15,

2014, the Bertins, J&F, and the Batistas executed what appears to be a revised, or possibly a

sham, third share-transfer agreement (the “Revised Third Share-Transfer Agreement”) with

Tinto and Comapi (another agribusiness company in the Bertin corporate group). Under this

version of the agreement, the Bertins purported to transfer to J&F the same ownership interest in



        8
         The Third Share-Transfer Agreement listed a total purchase price to J&F of R$346
million (USD$154.89 million), but stipulated that R$12 million (USD$5.37 million) of that price
was already satisfied by previous payments made by J&F to Tinto.
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Bertin FIP they already had given to J&F in the original version of the agreement, along with

Tinto’s equity stake in Mafrip, which Tinto had already given to JBS in the original agreement.

(Indeed, JBS currently lists Mafrip as one of its subsidiaries.) Tinto also agreed to transfer three

parcels of real estate to J&F (including one parcel it had already agreed in the Original Third

Share-Transfer Agreement to give to JBS), and to transfer to JBS two of the same parcels of land

it already had agreed to give to JBS.

       68.     In this version of the Agreement, J&F agreed to pay Tinto only R$334 million

(USD$149.51 million), R$130 million of which, once again, was to repay the loan Tinto had

taken out from Banco do Brasil. JBS was not a signatory to this version of the agreement, even

though it received two parcels of real estate as part of the transfer, and even though JBS had

already received Tinto’s equity stake in Mafrip and a parcel of real estate Tinto was now—

purportedly—transferring to J&F.




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         69.     61. Shortly after signing the Revised Third Share-Transfer Agreement, J&F

transferred its stake of Bertin FIP into two holding companies owned by Joesley Batista and

Wesley Batista: JJMB and WWMB. JBS’s true corporate structure then looked like this98:




                Figure 9: The accurate corporate structure of JBS S.A. after the Third Share Transfer
                           and the transfer of Bertin FIP interests to JJMB and WWMB.

         70.     62. Through the three Share-Transfer Agreements, the Batistas successfully

gained a significant asset—functionally, all of former Bertin S.A.—for a fraction of its actual

value.

         71.     63. The Bertins (either personally or through their primary holding company,

Heber) received cash and strengthened their ongoing business relationship with the Batistas. In

the midst of these transactions, Silmar Bertin and Natalino Bertin incorporated several offshore

entities (including companies in the United Kingdom and the British Virgin Islands), for still-



         98
           By 2014, as a result of continued mergers and acquisitions, the Batistas had lost their
majority stake in JBS. The Batistas have since returned to their positions on JBS’s board,
expanded their ownership interest in JBS to 48.34%, and are converting to a dual class stock
structure that will give them 84.77% voting power.
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unknown reasons.

       72.     64. But Tinto received scraps. And now, to right this wrong, Plaintiff brings this

case on behalf of the estate of Tinto and its many creditors, who were harmed by Defendants’

scheme to strip Tinto of its most significant asset, which pushed Tinto into financial decline and

insolvency.

       F.      E. Plaintiff Uncovers the Cover-up.

       73.     65. The JBS-Bertin S.A. merger involved a series of transactions that resulted in

Tinto’s complete loss of ownership of Bertin FIP, and indirectly JBS, in 2014. But during and

following the transactions, each Defendant denied and concealed the Batistas’ ownership of

Colorado.

       74.     66. Joesley Batista originally instructed JP Morgan’s New York office to create

Colorado as a vehicle to receive Tinto’s interest in Bertin FIP and protect his family’s control of

JBS. Colorado changed its on-paper ownership several times. Each time, the Batistas used

offshore and shell companies to ensure Colorado did not appear linked to the family. At the time

of Colorado’s creation in Delaware, the Batistas beneficially owned Colorado through Lunsville

International Inc.—a Panamanian company that served as Colorado’s sole member, and the same

company through which the Batistas illicit bribed key officials through U.S. bank accounts to

obtain funding from BNDES.

       75.     67. By March 2010, ownership of Colorado had moved to Graal Trust (“Graal”), a

Bahamian trust formed to hold and manage Colorado stock. There were no settlors listed for the

trust, but it had been formed at the direction of the Batistas. The Private Trust Corporation

Limited, a Bahamian entity, was the named trustee.

       76.     68. In April 2010, Graal engaged Lighthouse Capital Insurance Company

(“Lighthouse”) and U.S. Commonwealth Life, A.I. (“U.S. Commonwealth”)—based out of the

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Cayman Islands and Puerto Rico, respectively—to issue 12 life-insurance policies for the secret

benefit of Batista family members, and then transferred to Lighthouse and U.S. Commonwealth

its shares of Colorado.

       77.     69. At the end of April 2010, Lighthouse and U.S. Commonwealth each owned

50% of the shares of Colorado through Blessed Holdings Cayman Ltd. (“Blessed Cayman”), a

special-purpose vehicle created to maintain and manage both the shares of Colorado and the life

insurance policies issued to Graal for the benefit of the Batista family members.

       78.     70. It wasn’t until October 31, 2016 that the Batistas directly acquired Blessed

Cayman, rather than beneficially owning it through a complex network of offshore companies

and insurance policies.

       79.     71. While Defendants varied Colorado’s structure to disguise its true nature,

Defendants also outwardly denied their connection to Colorado.

               a.         In 2014, JBS (under the direction and control of J&F and the Batistas) told

                          the Securities and Exchange Commission of Brazil that it did not know the

                          identity of Colorado’s owners.

               b.         Brazilian law required JBS to list in its public year-end filings the ultimate

                          beneficial owners of shareholders who held more than 5% of JBS’s total

                          equity. JBS (under the direction and control of J&F and the Batistas)

                          listed the insurance companies Lighthouse and U.S. Commonwealth in its

                          2014, 2015, and 2016 year-end public filings, and omitted the Batistas as

                          Colorado’s owners. The omission in JBS’s 2016 filing is especially

                          troubling given that the Batistas had officially purchased Blessed Cayman

                          several months earlier.



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               c.      On May 23, 2017, Wesley Batista testified to the Brazilian federal police

                       that only his brother Joesley Batista knew the identity of Colorado’s

                       owner.

               d.      Even as recently as 2020, Wesley Batista stated that, at the time of the

                       merger, Colorado did not belong to JBS “or people related to the JBS

                       group” and claimed he did not know “who it used to belong to.”

       80.     72. The Securities and Exchange Commission of Brazil learned of the Batistas’

acquisition of Blessed Cayman only from JBS’s 2016 tax filings. Upon learning of the

acquisition, the commission questioned JBS about Colorado’s ownership, and on May 25, 2017,

JBS finally amended its public shareholder-disclosure filing to show that the Batistas owned

Colorado through Blessed Cayman.

       81.     73. Tinto did not learn Colorado’s true ownership until after it became insolvent

and was placed under the judicial administrator’s control. The judicial administrator was alerted

to Colorado’s true identity through a motion that a Tinto creditor filed in the bankruptcy action

on February 13, 2019. Many other details about the merger and transactions remain unknown to

Plaintiff. To this day, Plaintiff is unaware where the stock certificates for Colorado, JJMB, and

WWMB’s ill-gotten shares of Bertin FIP are located.

       82.     74. The Brazilian tax authorities subsequently uncovered the illicit use of the

Bertin FIP structure, including the misreporting of Bertin S.A.’s value, and issued a tax debt

certificate against Tinto. The tax authority has now levied R$5,162,248,946.57

(USD$1,045,243,570.62) in tax liability and fines against Tinto. Under Brazilian law, a

significant part of this liability receives payment priority, and thus must be satisfied before

certain other creditors of Tinto can be paid. This liability would not have existed but for the



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Batistas directing the Bertins to place Tinto’s shares of Bertin S.A. into Bertin FIP, and to

transfer it for far below its market value.

                             FIRST CAUSE OF ACTION:
                    UNJUST ENRICHMENT UNDER NEW YORK LAW

       83.     75. Plaintiff brings this cause of action against Defendants Colorado Investment

Holdings LLC, J&F Investimentos S.A., JJMB Participações Ltda., WWMB Participações Ltda.,

Joesley Batista, and Wesley Batista.

       84.     76. Plaintiff repeats and re-alleges the paragraphs above as if fully stated herein.

       85.     77. Each of these Defendants was enriched as a result of the Share-Transfer

Agreements described above.

       86.     78. Each of these Defendants received the proceeds of the Share-Transfer

Agreements, which amounted in aggregate to all of Tinto’s equity stake in Bertin FIP and in turn

a significant interest in JBS. These shares were worth more than R$8.76 billion (USD$4.84

billion). The proceeds received by these Defendants eclipsed, by a staggering sum, the amounts

that should have been paid by these Defendants to Tinto under those same Share-Transfer

Agreements.

       87.     79. Defendants Colorado, J&F, JJMB, and WWMB received the Bertin FIP

shares. Joesley Batista and Wesley Batista, as the ultimate beneficial owners of these

aforementioned Defendants, received beneficial ownership of the same.

       88.     80. By draining Tinto of a majority of its assets for minimal or no payments, each

of these Defendants was enriched at the expense of Tinto and Tinto’s creditors, on whose behalf

and for whose benefit Plaintiff now acts.

       89.     81. Each of these Defendants knew the true value of Tinto’s Bertin FIP shares.

These Defendants entered or caused Tinto to enter into the Share-Transfer Agreements, which on


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their face transferred Tinto’s Bertin FIP shares to these Defendants for far below their true

market value. Each of these Defendants stripped Tinto of its Bertin FIP shares without providing

just compensation in return. And each of these Defendants caused Tinto to transfer its assets in

violation of Brazilian law through a series of null and void contracts.

       90.     82. Tinto and its creditors suffered harm as a result. If not for the transfer of the

shares to these Defendants, Tinto may have been able to avoid bankruptcy and pay its creditors.

Even if Tinto had still entered bankruptcy, the Bertin FIP shares would have been sold and their

value would have been divided among Tinto’s creditors according to Brazilian bankruptcy law.

       91.     83. These Defendants engineered the JBS-Bertin S.A. merger and related

transactions so that, by the end, Tinto would have transferred (directly or indirectly) to these

Defendants its ownership in Bertin FIP. These Defendants knew or should have known, when

they (directly or indirectly) received the Bertin FIP shares, that they were receiving wrongfully

obtained property at the expense of Tinto and its creditors.

       92.     84. It is against equity and good conscience to permit these Defendants to retain

the Bertin FIP shares and the corresponding interest in JBS. The Court should order a

constructive trust over that interest as requested in the Prayer for Relief.

       93.     New York has the most significant relationship with this claim, because

Defendants engineered this scheme in New York to enrich themselves at the expense of Tinto.

Joesley Batista directed J.P. Morgan in New York to establish Colorado as a new United States

LLC and J.P. Morgan served as Colorado’s global custodian during the transactions.

       94.     With respect to this cause of action, this Court has general jurisdiction as to

Defendant Colorado Investment Holdings LLC. Colorado is a domestic limited-liability




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company organized and existing under the laws of the State of Delaware. Colorado is therefore

at home in the United States and the court can adjudicate any and all claims brought against it.

       95.     With respect to this cause of action, the Court has specific jurisdiction as to

Defendants Colorado Investment Holdings LLC, J&F Investimentos S.A., JJMB Participações

Ltda., WWMB Participações Ltda., Joesley Batista, and Wesley Batista because these

Defendants purposefully availed themselves of the privilege of conducting activities in the

United States, and the claim arises out of or relates to Defendants’ contacts with the United

States. Among other things:

               a.     The Batistas intentionally used a U.S. bank to create a U.S. company to

                      divert Tinto’s assets and hide their illicit gains from the share-transfer

                      agreements.

               b.      Joesley Batista (JBS’s CEO) used bankers at J.P. Morgan in New York to

                      create Colorado in Delaware, a U.S. entity through which the Batistas

                      (JBS’s majority owners) would loot Tinto of its assets (shares of Bertin

                      FIP that represent an interest in JBS) to increase their majority ownership

                      of JBS.

               c.     The First and Second Share Transfer Agreements transferred shares of

                      Bertin FIP to Colorado, a U.S. entity.

               d.     During and after the transactions, the Batistas took active steps to hide the

                      truth about the scheme from JBS’s investors, including U.S. investors in




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                      its American Depositary Receipts, which traded on the New York Stock

                      Exchange.

               e.     On information and belief, in connection with the share-transfer scheme,

                      the Batistas traveled to and were physically present in the United States

                      many times, including in their capacities as officers and directors of

                      Defendants J&F Investimentos S.A., JJMB Participações Ltda., and/or

                      WWMB Participações Ltda., as well as the ultimate beneficial owners of

                      Colorado, making the United States familiar territory and a convenient

                      forum. On information and belief, the Batistas continue to travel to the

                      U.S. regularly. A private jet registered to J&F, and used almost

                      exclusively by the Batistas, has made 22 trips to cities in the United States

                      in the past year.

               f.     On October 14, 2020, J&F entered a guilty plea in United States v. J&F

                      Investimentos SA, No. 20-cr-00365 (MKB) (E.D.N.Y.), in which the

                      agreed Statement of Facts states that J&F, in the persons of Joesley and

                      Wesley Batista, traveled to the United States, and used New York

                      financial institutions and bank accounts in furtherance of a bribery

                      conspiracy in violation of the Foreign Corrupt Practices Act, including by

                      opening accounts in New York and purchasing property in the United

                      States that was then given to Brazilian officials.9



       9
          The Statement of Facts does not refer to the Batistas by name, but instead refers to “J&F
Executive 1” and “J&F Executive 2,” each of whom was an “individual whose identity is known
to the United States and J&F, [and] was a Brazilian citizen who was a high-level executive and
partial owner of J&F.” See https://www.justice.gov/criminal/criminal-
fraud/file/1334241/dl?inline. Joesley and Wesley Batista are officers and directors of J&F, and
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              g.      Together, the Batistas are among the largest shareholders in Pilgrim’s

                      Pride, and, on February 8, 2024, were appointed as directors of that

                      company. Pilgrim’s Pride stated that they will bring “expertise in protein

                      production operations,” “extensive operational expertise,” and “business

                      management experience to the company.” The Batistas only acquired

                      their substantial ownership interest in Pilgrim’s Pride as a result of the

                      transfer scheme.

              h.      The Batistas also have been directors of JBS since 2024.

              i.      On information and belief, Joesley Batista borrowed money from J.P.

                      Morgan in New York to purchase shares in Defendant JBS S.A.

              j.      The Batistas have owned property in the United States (and discovery is

                      likely to show that they still do own some or all of this property),

                      including:

                       (i)     Through JBS, the Batistas have a significant stake in JBS

                      Wisconsin Properties, LLC, a Wisconsin corporation, with its principal

                      address in Greeley, Colorado.

                       (ii)    As of at least 2016 and 2017, respectively, Wesley and Joesley

                      Batista each owned 50% of the equity in J&F USA Capital LLC, a

                      Delaware company.

                       (iii)   Through J&F, the Batistas acquired a $4.75 million condominium

                      in Miami in 2017.




JBS has publicly stated that J&F is “wholly owned by” the Batistas. Since the Batistas are the
only owners of J&F, they must be J&F Executives 1 and 2.
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       (iv)   Joesley and Wesley Batista were listed in filings for 2015 and 2016

       with the Illinois Secretary of State as managers of JBS Live Pork LLC,

       registered in Illinois, with their address shown as 1770 Promontory Circle,

       Greeley, Colorado.

       (v)    Joesley Batista has owned during the relevant period all or part of

       PH 20 West 53rd LLC, a New York LLC formed on or about May 26,

       2016. PH 20 West 53rd LLC purchased a $42,500,000 penthouse

       apartment at 28 West 53rd Street in Manhattan on June 9, 2016.

       (vi)   Joesley Batista has also owned during the relevant period all or

       part of PH 641 Holdings LLC, a Delaware LLC formed on or about June

       19, 2012. PH 641 Holdings LLC purchased a $14,000,000 penthouse

       apartment at 641 5th Avenue in Manhattan on August 22, 2012, which it

       sold in 2018 for $15,150,000.

       (vii) Shortly before entering a plea agreement in Brazil relating to the

       aforementioned bribery scheme, Joesley Batista moved his superyacht,

       “Why Not,” to Miami. It appears currently to be available for charter for

       $24,000 per week.

       (viii) Wesley Batista maintains a residence in Colorado, which he

       periodically lived in and frequently visits for business and personal

       reasons.

       (ix)   Wesley Batista during the relevant period maintained a United

       States bank account with Wells Fargo, which, in 2016, held more than

       $40,000.



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 k.    The Batistas and Defendants J&F Investimentos S.A., JJMB Participações

       Ltda., and WWMB Participações Ltda. are one and the same. Both

       Batistas are officers and directors of J&F; Joesley is an officer and director

       of JJMB (which bears his initials and serves as his personal investment

       vehicle); and Wesley is an officer and director of WWMB (which is his

       eponymous investment vehicle). JBS has publicly stated that “J&F is

       controlled by” and “wholly owned by [JBS’s] ultimate controlling

       shareholders, Messrs. Joesley Mendonça Batista and Wesley Mendonça

       Batista.” Each Batista brother owns 99.999% of JJMB or WWMB. J&F,

       JJMB, and WWMB were vital to the share-transfer scheme, which was

       focused and reliant on the United States. J&F was a signatory to the initial

       secret merger agreement, conducted one of the share transfers, and helped

       conceal the entire scheme. And JJMB and WWMB provided J&F a place

       to stash its illicitly acquired shares from the Third Share-Transfer

       Agreement shortly after it occurred.

 l.    The scheme to take Tinto’s billions of dollars in assets for next to nothing

       also facilitated the Batistas expansion into the U.S. It allowed the Batistas

       (through JBS) to acquire Bertin S.A.’s U.S. operations. And it provided

       the Batistas a means to ensure they maintained majority control over JBS

       as it gobbled up more U.S. companies. In its press release announcing the

       Bertin S.A. merger, the Batistas made clear that the merger depended on

       JBS getting $2.5 billion (subsequently revised down to $2 billion) to fund

       its acquisition of American poultry giant Pilgrim’s Pride Corporation—



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                       which it did, thanks to the bribery payments Joesley Batista admitted to

                       making using a U.S. account.

                             SECOND CAUSE OF ACTION:
   AIDING AND ABETTING BREACH OF FIDUCIARY DUTY UNDER NEW YORK
                                            LAW
      96.  85. Plaintiff brings this cause of action against Defendants Colorado Investment

Holdings LLC, Joesley Batista, Wesley BatistaJ&F Investimentos S.A., JJMB Participações

Ltda., WWMB Participações Ltda., and J&F Investimentos S.AJoesley Batista, and Wesley

Batista.

       97.     86. Plaintiff repeats and re-alleges the paragraphs above as if fully stated herein.

       98.     87. As officers of Tinto, Silmar Bertin and Natalino Bertin owed fiduciary duties

to Tinto, including the duty of care to preserve corporate assets and prevent insolvency, and the

duty of loyalty. In their capacity as fiduciaries, Silmar Bertin and Natalino Bertin had the

obligation to supervise and monitor corporate affairs, and to exercise independent judgment to

benefit Tinto and its creditors.

       99.     88. Silmar Bertin and Natalino Bertin violated their duty of care and duty of

loyalty when they directed Tinto to enter into the Share-Transfer Agreements. Silmar Bertin and

Natalino Bertin, as sophisticated businessmen and the founders of Bertin S.A., were aware of the

true value of the Bertin FIP shares, and knew that they were substantially underpriced in the

Share-Transfer Agreements. In these transactions, Silmar Bertin and Natalino Bertin acted to

benefit Defendants, not Tinto.

       100.    89. Silmar Bertin and Natalino Bertin also violated their duty of care and duty of

loyalty when they directed Tinto to transfer its shares of Bertin S.A. into Bertin FIP. Silmar

Bertin and Natalino Bertin, as sophisticated businessmen and the founders of Bertin S.A., were

aware that the creation of Bertin FIP could only serve to benefit these Defendants and their illicit


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scheme. They instead acted to benefit these Defendants by use of the FIP structure and the

underpriced sale of Bertin S.A.—a decision that resulted in significant tax liability.

        101.     90. Joesley Batista, Wesley Batista, JJMB, WWMB, Colorado, and J&F aided

and abetted Silmar Bertin and Natalino Bertin in these breaches of their fiduciary duties when

they participated in or directed the Share-Transfer Agreements. Joesley Batista, Wesley Batista,

Colorado, and J&F were aware of the Bertin FIP shares’ true value when they entered into the

Share-Transfer Agreements and knew that they were substantially underpriced. Joesley Batista,

Wesley Batista, and J&F also instructed Tinto to place its assets into Bertin FIP, knowing that, if

discovered, the scheme would subject Tinto to massive tax liability. Joesley and Wesley Batista

were each acting on behalf of their eponymous investment vehicles, WJJMB and WWMB,

through which they hold some of the shares. Each of these Defendants also aided and abetted

Silmar Bertin and Natalino Bertin in acts that violated Brazilian law and Tinto’s articles of

incorporation by siphoning Tinto’s main assets to the detriment of Tinto—a for-profit legal

entity—and its creditors.

        102.     91. Tinto suffered harm as a result. If not for the transfer of the shares to these

Defendants, Tinto may have been able to avoid bankruptcy and pay its creditors. The Share-

Transfer Agreements rendered Tinto insolvent. And placing the assets of Bertin S.A. into Bertin

FIP and selling Bertin S.A. for almost nothing saddled Tinto with a R$5,162,248,946.57

(USD$1,045,243,570.62) tax liability that it otherwise would not have incurred. That liability

continues to harm other of Tinto’s creditors, who cannot be paid until a significant portion of that

tax liability is satisfied.

        103.     As a result of Defendants aiding and abetting the breach of fiduciary duty,

Defendants possess all of Tinto’s shares of Bertin FIP, which represent a significant interest in



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JBS. The Court should order a constructive trust over that interest as requested in the Prayer for

Relief.

          104.    New York has the most significant relationship with this claim, because

Defendants engineered this scheme to enrich themselves at the expense of Tinto in New York.

Joesley Batista directed J.P. Morgan in New York to establish Colorado as a new United States

LLC and J.P. Morgan served as Colorado’s global custodian during the transactions.

          105.    With respect to this cause of action, this Court has general jurisdiction as to

Defendant Colorado Investment Holdings LLC. Colorado is a domestic limited-liability

company organized and existing under the laws of the State of Delaware. Colorado is therefore

at home in the United States and the court can adjudicate any and all claims brought against it.

          106.    With respect to this cause of action, the Court has specific jurisdiction as to

Defendants Colorado Investment Holdings LLC, J&F Investimentos S.A., JJMB Participações

Ltda., WWMB Participações Ltda., Joesley Batista, and Wesley Batista because these

Defendants purposefully availed themselves of the privilege of conducting activities in the

United States and the claim arises out of or relates to Defendants’ contacts with the United

States. Among other things:

                  a.     The Batistas intentionally used a U.S. bank to create a U.S. company to

                         divert Tinto’s assets and hide their illicit gains from the share-transfer

                         agreements.

                  b.      Joesley Batista (JBS’s CEO) used bankers at J.P. Morgan in New York to

                         create Colorado in Delaware, a U.S. entity through which the Batistas

                         (JBS’s majority owners) would loot Tinto of its assets (shares of Bertin

                         FIP that represent an interest in JBS) to increase their majority ownership



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       of JBS.

 c.    The First and Second Share Transfer Agreements transferred shares of

       Bertin FIP to Colorado, a U.S. entity.

 d.    During and after the transactions, the Batistas took active steps to hide the

       truth about the scheme from JBS’s investors, including U.S. investors in

       its American Depositary Receipts, which traded on the New York Stock

       Exchange.

 e.    On information and belief, in connection with the share-transfer scheme,

       the Batistas traveled to and were physically present in the United States

       many times, including in their capacities as officers and directors of

       Defendants J&F Investimentos S.A., JJMB Participações Ltda., and/or

       WWMB Participações Ltda., as well as the ultimate beneficial owners of

       Colorado, making the United States familiar territory and a convenient

       forum. On information and belief, the Batistas continue to travel to the

       U.S. regularly. A private jet registered to J&F, and used almost

       exclusively by the Batistas, has made 22 trips to cities in the United States

       in the past year.

 f.    On October 14, 2020, J&F entered a guilty plea in United States v. J&F

       Investimentos SA, No. 20-cr-00365 (MKB) (E.D.N.Y.), in which the

       agreed Statement of Facts states that J&F, in the persons of Joesley and

       Wesley Batista, traveled to the United States, and used New York

       financial institutions and bank accounts in furtherance of a bribery

       conspiracy in violation of the Foreign Corrupt Practices Act, including by



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       opening accounts in New York and purchasing property in the United

       States that was then given to Brazilian officials.

 g.    Together, the Batistas are among the largest shareholders in Pilgrim’s

       Pride, and, on February 8, 2024, were appointed as directors of that

       company. Pilgrim’s Pride stated that they will bring “expertise in protein

       production operations,” “extensive operational expertise,” and “business

       management experience to the company.” The Batistas only acquired

       their substantial ownership interest in Pilgrim’s Pride as a result of the

       transfer scheme.

 h.    The Batistas also have been directors of JBS since 2024.

 i.    On information and belief, Joesley Batista borrowed money from J.P.

       Morgan in New York to purchase shares in Defendant JBS S.A.

 j.    The Batistas have owned property in the United States (and discovery is

       likely to show that they still do own some or all of this property),

       including:

       (i)     Through JBS, the Batistas have a significant stake in JBS

       Wisconsin Properties, LLC, a Wisconsin corporation, with its principal

       address in Greeley, Colorado.

       (ii)    As of at least 2016 and 2017, respectively, Wesley and Joesley

       Batista each owned 50% of the equity in J&F USA Capital LLC, a

       Delaware company.

       (iii)   Through J&F, the Batistas acquired a $4.75 million condominium

       in Miami in 2017.



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       (iv)   Joesley and Wesley Batista were listed in filings for 2015 and 2016

       with the Illinois Secretary of State as managers of JBS Live Pork LLC,

       registered in Illinois, with their address shown as 1770 Promontory Circle,

       Greeley, Colorado.

       (v)    Joesley Batista has owned during the relevant period all or part of

       PH 20 West 53rd LLC, a New York LLC formed on or about May 26,

       2016. PH 20 West 53rd LLC purchased a $42,500,000 penthouse

       apartment at 28 West 53rd Street in Manhattan on June 9, 2016.

       (vi)   Joesley Batista has also owned during the relevant period all or

       part of PH 641 Holdings LLC, a Delaware LLC formed on or about June

       19, 2012. PH 641 Holdings LLC purchased a $14,000,000 penthouse

       apartment at 641 5th Avenue in Manhattan on August 22, 2012, which it

       sold in 2018 for $15,150,000.

       (vii) Shortly before entering a plea agreement in Brazil relating to the

       aforementioned bribery scheme, Joesley Batista moved his superyacht,

       “Why Not,” to Miami. It appears currently to be available for charter for

       $24,000 per week.

       (viii) Wesley Batista maintains a residence in Colorado, which he

       periodically lived in and frequently visits for business and personal

       reasons.

       (ix)   Wesley Batista during the relevant period maintained a United

       States bank account with Wells Fargo, which, in 2016, held more than

       $40,000.



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 k.    The Batistas and Defendants J&F Investimentos S.A., JJMB Participações

       Ltda., and WWMB Participações Ltda. are one and the same. Both

       Batistas are officers and directors of J&F; Joesley is an officer and director

       of JJMB (which bears his initials and serves as his personal investment

       vehicle); and Wesley is an officer and director of WWMB (which is his

       eponymous investment vehicle). JBS has publicly stated that “J&F is

       controlled by” and “wholly owned by [JBS’s] ultimate controlling

       shareholders, Messrs. Joesley Mendonça Batista and Wesley Mendonça

       Batista.” Each Batista brother owns 99.999% of JJMB or WWMB. J&F,

       JJMB, and WWMB were vital to the share-transfer scheme, which was

       focused and reliant on the United States. J&F was a signatory to the initial

       secret merger agreement, conducted one of the share transfers, and helped

       conceal the entire scheme. And JJMB and WWMB provided J&F a place

       to stash its illicitly acquired shares from the Third Share-Transfer

       Agreement shortly after it occurred.

 l.    The scheme to take Tinto’s billions of dollars in assets for next to nothing

       also facilitated the Batistas expansion into the U.S. It allowed the Batistas

       (through JBS) to acquire Bertin S.A.’s U.S. operations. And it provided

       the Batistas a means to ensure they maintained majority control over JBS

       as it gobbled up more U.S. companies. In its press release announcing the

       Bertin S.A. merger, the Batistas made clear that the merger depended on

       JBS getting $2.5 billion (subsequently revised down to $2 billion) to fund

       its acquisition of American poultry giant Pilgrim’s Pride Corporation—



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                       which it did, thanks to the bribery payments Joesley Batista admitted to

                       making using a U.S. account.

                      THIRD CAUSE OF ACTION:
    ACTION TO DECLARE ABSOLUTE NULLITY OF A TRANSACTION UNDER
                          BRAZILIAN LAW

       107.    92. Plaintiff brings this cause of action against Defendants Colorado Investment

Holdings LLC, Joesley Batista, and Wesley Batista.

       108.    93. Plaintiff repeats and re-alleges the paragraphs above as if fully stated herein.

       109.    94. Under Article 166 of the Brazilian Civil Code, a transaction is null and void if,

among other things, its object is illicit, impossible, or indeterminable; the parties had unlawful

motives; the transaction was not performed in the form prescribed by law; or the transaction’s

purpose evades a mandatory law.

       110.    95. As outlined below, the First and Second Share-Transfer Agreements are null

and void under one or more of these standards.

       111.    The purpose of the First and Second Share-Transfer Agreements was the evasion

of one or more mandatory law. First, the Share Transfer Agreements caused Tinto to improperly

dispose of its most significant asset for almost nothing in return, violating the Brazilian company

law as it applies to for-profit businesses and Tinto’s limited liability company agreement.

Second, the Share Transfer Agreements constitute a fraud on the law, circumventing both

Brazilian corporations law and Brazilian tax law. Colorado, Joesley, and Wesley Batista

structured the transactions to avoid taxes, by using an investment fund to transfer the Bertin FIP

shares, and by transferring them for prices far below their market value.

       112.    96. Defendants Colorado, Joesley Batista, and Wesley BatistaSeparately, the First

and Second Share-Transfer Agreements are null and void because the parties had at least

threetwo unlawful motives in entering into both the First and Second Share-Transfer

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Agreements. First, these Defendants entered into the First and Second Share-Transfer

Agreements to increase the Batistas’ majority interest in JBS without informing the market. By

concealing that Joesley Batista and Wesley Batista were the true ultimate beneficial owners of

Colorado, these Defendants hid the nature of the benefit to the Batistas from the transactions.

Second, Colorado, Joesley Batista, and Wesley Batista intentionally violated Brazilian corporate

law and Tinto’s own articles of incorporation by siphoning Tinto’s main assets to the detriment

of Tinto—a for-profit legal entity—and its creditors. ThirdSecond, these Defendants

intentionally deceived Brazilian fiscal authorities, both by using a purchase price that did not

reflect the value transferred and by using an investment fund for the transfer of the shares in a

manner deemed unlawful under Brazilian law. Colorado, Joesley Batista, and Wesley Batista

took all of these steps knowing that their conduct was unlawful. The parties to the transactions

had the unlawful motive to enrich themselves at the expense of Tinto’s creditors while

misleading JBS’s minority shareholders and Brazilian fiscal authorities.

       97. The purpose of the First and Second Share-Transfer Agreements was also the evasion

of one or more mandatory law. First, Colorado, Joesley Batista, and Wesley Batista structured

the transactions to avoid taxes, in violation of Brazilian tax law, by using an investment fund to

transfer the Bertin FIP shares, and by transferring them for prices far below their market value.

Second, these Defendants also caused Tinto to improperly dispose of its most significant asset,

violating the Brazilian company law as it applies to for-profit businesses.

       113.    98. Because the First and Second Share-Transfer Agreements are null and void

under Article 166 of the Brazilian Civil Code, this Court should revert the parties to their status

prior to these Share-Transfer Agreements. as requested in the Prayer for Relief seeking




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rescission.10 Article 169 of the Brazilian Civil Code provides that a null and void legal

transaction is not susceptible to ratification, and is not cured by the passage of time.

       114.    With respect to this cause of action, this Court has general jurisdiction as to

Defendant Colorado Investment Holdings LLC. Colorado is a domestic limited-liability

company organized and existing under the laws of the State of Delaware. Colorado is therefore

at home in the United States and the court can adjudicate any and all claims brought against it.

       115.    With respect to this cause of action, the Court has specific jurisdiction as to

Defendants Colorado Investment Holdings LLC, Joesley Batista, and Wesley Batista because

these Defendants purposefully availed themselves of the privilege of conducting activities in the

United States and the claim arises out of or relates to Defendants’ contacts with the United

States. Among other things:

               a.      The Batistas intentionally used a U.S. bank to create a U.S. company to

                       divert Tinto’s assets and hide their illicit gains from the share-transfer

                       agreements.

               b.       Joesley Batista (JBS’s CEO) used bankers at J.P. Morgan in New York to

                       create Colorado in Delaware, a U.S. entity through which the Batistas

                       (JBS’s majority owners) would loot Tinto of its assets (shares of Bertin

                       FIP that represent an interest in JBS) to increase their majority ownership

                       of JBS.




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          Under Brazilian law, the appropriate remedy under Articles 166 and 169 would not be
referred to as “rescission,” which refers to a different remedy in Brazil. Nonetheless, the
substantive remedy under Articles 166 and 169—a declaration that the transactions are null and
void and the return of the parties to the status quo before the transactions—is equivalent to
rescission as that term is used in the United States.
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 c.    The First and Second Share Transfer Agreements transferred shares of

       Bertin FIP to Colorado, a U.S. entity.

 d.    During and after the transactions, the Batistas took active steps to hide the

       truth about the scheme from JBS’s investors, including U.S. investors in

       its American Depositary Receipts, which traded on the New York Stock

       Exchange.

 e.    On information and belief, in connection with the share-transfer scheme,

       the Batistas traveled to and were physically present in the United States

       many times, including in their capacities as the ultimate beneficial owners

       of Colorado, making the United States familiar territory and a convenient

       forum. On information and belief, the Batistas continue to travel to the

       U.S. regularly. A private jet registered to J&F, and used almost

       exclusively by the Batistas, has made 22 trips to cities in the United States

       in the past year.

 f.    On October 14, 2020, J&F entered a guilty plea in United States v. J&F

       Investimentos SA, No. 20-cr-00365 (MKB) (E.D.N.Y.), in which the

       agreed Statement of Facts states that J&F, in the persons of Joesley and

       Wesley Batista, traveled to the United States, and used New York

       financial institutions and bank accounts in furtherance of a bribery

       conspiracy in violation of the Foreign Corrupt Practices Act, including by

       opening accounts in New York and purchasing property in the United

       States that was then given to Brazilian officials.




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 g.    Together, the Batistas are among the largest shareholders in Pilgrim’s

       Pride, and, on February 8, 2024, were appointed as directors of that

       company. Pilgrim’s Pride stated that they will bring “expertise in protein

       production operations,” “extensive operational expertise,” and “business

       management experience to the company.” The Batistas only acquired

       their substantial ownership interest in Pilgrim’s Pride as a result of the

       transfer scheme.

 h.    The Batistas also have been directors of JBS since 2024.

 i.    On information and belief, Joesley Batista borrowed money from J.P.

       Morgan in New York to purchase shares in Defendant JBS S.A.

 j.    The Batistas have owned property in the United States (and discovery is

       likely to show that they still do own some or all of this property),

       including:

       (i)     Through JBS, the Batistas have a significant stake in JBS

       Wisconsin Properties, LLC, a Wisconsin corporation, with its principal

       address in Greeley, Colorado.

       (ii)    As of at least 2016 and 2017, respectively, Wesley and Joesley

       Batista each owned 50% of the equity in J&F USA Capital LLC, a

       Delaware company.

       (iii)   Through J&F, the Batistas acquired a $4.75 million condominium

       in Miami in 2017.

       (iv)    Joesley and Wesley Batista were listed in filings for 2015 and 2016

       with the Illinois Secretary of State as managers of JBS Live Pork LLC,



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       registered in Illinois, with their address shown as 1770 Promontory Circle,

       Greeley, Colorado.

       (v)    Joesley Batista has owned during the relevant period all or part of

       PH 20 West 53rd LLC, a New York LLC formed on or about May 26,

       2016. PH 20 West 53rd LLC purchased a $42,500,000 penthouse

       apartment at 28 West 53rd Street in Manhattan on June 9, 2016.

       (vi)   Joesley Batista has also owned during the relevant period all or

       part of PH 641 Holdings LLC, a Delaware LLC formed on or about June

       19, 2012. PH 641 Holdings LLC purchased a $14,000,000 penthouse

       apartment at 641 5th Avenue in Manhattan on August 22, 2012, which it

       sold in 2018 for $15,150,000.

       (vii) Shortly before entering a plea agreement in Brazil relating to the

       aforementioned bribery scheme, Joesley Batista moved his superyacht,

       “Why Not,” to Miami. It appears currently to be available for charter for

       $24,000 per week.

       (viii) Wesley Batista maintains a residence in Colorado, which he

       periodically lived in and frequently visits for business and personal

       reasons.

       (ix)   Wesley Batista during the relevant period maintained a United

       States bank account with Wells Fargo, which, in 2016, held more than

       $40,000.

 k.    The scheme to take Tinto’s billions of dollars in assets for next to nothing

       also facilitated the Batistas expansion into the U.S. It allowed the Batistas



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                       (through JBS) to acquire Bertin S.A.’s U.S. operations. And it provided

                       the Batistas a means to ensure they maintained majority control over JBS

                       as it gobbled up more U.S. companies. In its press release announcing the

                       Bertin S.A. merger, the Batistas made clear that the merger depended on

                       JBS getting $2.5 billion (subsequently revised down to $2 billion) to fund

                       its acquisition of American poultry giant Pilgrim’s Pride Corporation—

                       which it did, thanks to the bribery payments Joesley Batista admitted to

                       making using a U.S. account.

                      FOURTH CAUSE OF ACTION:
       ACTION TO DECLARE VOID TRANSACTION UNDER BRAZILIAN LAW

       116.    99. Plaintiff brings this cause of action against Defendants Colorado Investment

Holdings LLC, Joesley Batista, and Wesley Batista.

       117.    100. Plaintiff repeats and re-alleges the paragraphs above as if fully stated herein.

       118.    101. Under Article 167 of the Brazilian Civil Code, a transaction is null and void

as a sham transaction if, among other things, the transaction appears to confer or transmit rights

to persons other than those to whom those rights are really conferred; the contract contains a

statement, condition, or clause that is not true; or the contract is not dated as of the actual date of

execution.

       119.    102. The First and Second Share-Transfer Agreements are null and void because

they appear to transmit rights to persons other than those to whom those rights are really

conferred, and they contain materially false statements. First, as described above, the

agreements appear to transmit rights to Colorado—which held itself out as an independent,

Delaware-based party—but in reality transferred rights to the Batistas. Second, the agreements

contained a false declaration of the purchase price. They appeared to effectuate a legitimate


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asset sale, and contained statements indicative of that intent—, but in reality, these agreements

unlawfully diverted immensely valuable assets away from Tinto and its creditors towards

Colorado, Joesley Batista, and Wesley Batista for nothing in return. The end result was that

Colorado, Joesley Batista, and Wesley Batista were enriched at the expense of Tinto and its

creditors, and JBS minority shareholders were misled about the true nature of the merger..

Second, the agreements were a simulation to avoid mandatory tax law by transferring the interest

through shares in Bertin FIP and falsely declaring the purchase price.

       120.    103. Because the First and Second Share-Transfer Agreements are null and void

under Article 167 of the Brazilian Civil Code, this Court should revert the parties to their status

prior to these Share-Transfer Agreements. as requested in the Prayer for Relief seeking

rescission.11 Article 169 of the Brazilian Civil Code provides that a null and void legal

transaction is not susceptible to ratification, and is not cured by the passage of time.

       121.    With respect to this cause of action, this Court has general jurisdiction as to

Defendant Colorado Investment Holdings LLC. Colorado is a domestic limited-liability

company organized and existing under the laws of the State of Delaware. Colorado is therefore

at home in the United States and the court can adjudicate any and all claims brought against it.

       122.    With respect to this cause of action, the Court has specific jurisdiction as to

Defendants Colorado Investment Holdings LLC, Joesley Batista, and Wesley Batista because

these Defendants purposefully availed themselves of the privilege of conducting activities in the




       11
          Under Brazilian law, the appropriate remedy under Articles 166 and 169 would not be
referred to as “rescission,” which refers to a different remedy in Brazil. Nonetheless, the
substantive remedy under Articles 166 and 169—a declaration that the transactions are null and
void and the return of the parties to the status quo before the transactions—is equivalent to
rescission as that term is used in the United States.
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United States and the claim arises out of or relates to Defendants’ contacts with the United

States. Among other things:

               a.     The Batistas intentionally used a U.S. bank to create a U.S. company to

                      divert Tinto’s assets and hide their illicit gains from the share-transfer

                      agreements.

               b.      Joesley Batista (JBS’s CEO) used bankers at J.P. Morgan in New York to

                      create Colorado in Delaware, a U.S. entity through which the Batistas

                      (JBS’s majority owners) would loot Tinto of its assets (shares of Bertin

                      FIP that represent an interest in JBS) to increase their majority ownership

                      of JBS.

               c.     The First and Second Share Transfer Agreements transferred shares of

                      Bertin FIP to Colorado, a U.S. entity.

               d.     During and after the transactions, the Batistas took active steps to hide the

                      truth about the scheme from JBS’s investors, including U.S. investors in

                      its American Depositary Receipts, which traded on the New York Stock

                      Exchange.

               e.     On information and belief, in connection with the share-transfer scheme,

                      the Batistas traveled to and were physically present in the United States

                      many times, including in their capacities as the ultimate beneficial owners

                      of Colorado, making the United States familiar territory and a convenient

                      forum. On information and belief, the Batistas continue to travel to the

                      U.S. regularly. A private jet registered to J&F, and used almost




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       exclusively by the Batistas, has made 22 trips to cities in the United States

       in the past year.

 f.    On October 14, 2020, J&F entered a guilty plea in United States v. J&F

       Investimentos SA, No. 20-cr-00365 (MKB) (E.D.N.Y.), in which the

       agreed Statement of Facts states that J&F, in the persons of Joesley and

       Wesley Batista, traveled to the United States, and used New York

       financial institutions and bank accounts in furtherance of a bribery

       conspiracy in violation of the Foreign Corrupt Practices Act, including by

       opening accounts in New York and purchasing property in the United

       States that was then given to Brazilian officials.

 g.    Together, the Batistas are among the largest shareholders in Pilgrim’s

       Pride, and, on February 8, 2024, were appointed as directors of that

       company. Pilgrim’s Pride stated that they will bring “expertise in protein

       production operations,” “extensive operational expertise,” and “business

       management experience to the company.” The Batistas only acquired

       their substantial ownership interest in Pilgrim’s Pride as a result of the

       transfer scheme.

 h.    The Batistas also have been directors of JBS since 2024.

 i.    On information and belief, Joesley Batista borrowed money from J.P.

       Morgan in New York to purchase shares in Defendant JBS S.A.

 j.    The Batistas have owned property in the United States (and discovery is

       likely to show that they still do own some or all of this property),

       including:



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       (i)     Through JBS, the Batistas have a significant stake in JBS

       Wisconsin Properties, LLC, a Wisconsin corporation, with its principal

       address in Greeley, Colorado.

       (ii)    As of at least 2016 and 2017, respectively, Wesley and Joesley

       Batista each owned 50% of the equity in J&F USA Capital LLC, a

       Delaware company.

       (iii)   Through J&F, the Batistas acquired a $4.75 million condominium

       in Miami in 2017.

       (iv)    Joesley and Wesley Batista were listed in filings for 2015 and 2016

       with the Illinois Secretary of State as managers of JBS Live Pork LLC,

       registered in Illinois, with their address shown as 1770 Promontory Circle,

       Greeley, Colorado.

       (v)     Joesley Batista has owned during the relevant period all or part of

       PH 20 West 53rd LLC, a New York LLC formed on or about May 26,

       2016. PH 20 West 53rd LLC purchased a $42,500,000 penthouse

       apartment at 28 West 53rd Street in Manhattan on June 9, 2016.

       (vi)    Joesley Batista has also owned during the relevant period all or

       part of PH 641 Holdings LLC, a Delaware LLC formed on or about June

       19, 2012. PH 641 Holdings LLC purchased a $14,000,000 penthouse

       apartment at 641 5th Avenue in Manhattan on August 22, 2012, which it

       sold in 2018 for $15,150,000.

       (vii) Shortly before entering a plea agreement in Brazil relating to the

       aforementioned bribery scheme, Joesley Batista moved his superyacht,



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                      “Why Not,” to Miami. It appears currently to be available for charter for

                      $24,000 per week.

                       (viii) Wesley Batista maintains a residence in Colorado, which he

                      periodically lived in and frequently visits for business and personal

                      reasons.

                       (ix)   Wesley Batista during the relevant period maintained a United

                      States bank account with Wells Fargo, which, in 2016, held more than

                      $40,000.

               k.     The scheme to take Tinto’s billions of dollars in assets for next to nothing

                      also facilitated the Batistas expansion into the U.S. It allowed the Batistas

                      (through JBS) to acquire Bertin S.A.’s U.S. operations. And it provided

                      the Batistas a means to ensure they maintained majority control over JBS

                      as it gobbled up more U.S. companies. In its press release announcing the

                      Bertin S.A. merger, the Batistas made clear that the merger depended on

                      JBS getting $2.5 billion (subsequently revised down to $2 billion) to fund

                      its acquisition of American poultry giant Pilgrim’s Pride Corporation—

                      which it did, thanks to the bribery payments Joesley Batista admitted to

                      making using a U.S. account.

                           FIFTH CAUSE OF ACTION:
              TRANSFER OF ESTABLISHMENT UNDER BRAZILIAN LAW

       123.    104. Plaintiff brings this cause of action against Defendants Colorado Investment

Holdings LLC, J&F Investimentos S.A., JJMB Participações Ltda., WWMB Participações Ltda.,

Joesley Batista, and Wesley Batista.

       124.    105. Plaintiff repeats and re-alleges the paragraphs above as if fully stated herein.


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        125.    106. Under Article 129, VI, of the Brazilian Bankruptcy Law, the sale or transfer

of a business’s establishment is ineffective if (i) it is made without the express consent or

payment of all then-existing creditors; and (ii) if the debtor is left, after the sale or transfer, with

insufficient assets to pay its liabilities. Brazilian law defines an establishment as “any complex

of organized goods, for the exercise of the company, by an entrepreneur, or by a company.”

Brazilian Civil Code, Article 1142. “The establishment may be a unitary object of legal and

translational or constitutive rights and business, whichlegal transactions, whether transferable or

constitutive that are compatible with its nature.” Brazilian Civil Code, Article 1143.

        126.    107. The transfer of Tinto’s shares of Bertin FIP constitutedwas an indirect

transfer of an establishment, as they were the core business asset held by Tinto because they

represented Tinto’s ownership of tangible assets—the meat-processing industries/plants owned

through Bertin S.A. and later JBS—which independently constituted establishments. Tinto’s

creditors did not know—and did not provide any form of consent—when these Defendants

acquired Tinto’s shares of Bertin FIP, and thus its ownership of the tangible assets these shares

represented. As a result of the transfers, Tinto was left without sufficient assets to satisfy the

claims of its creditors.

        127.    108. Alternatively, Tinto’s shares of Bertin FIP represented its ownership of

tangible assets arranged under single corporate brands in the meat-processing industry—first

Bertin S.A., and later JBS—which independently constituted an establishment, as Tinto was

organized as a holding company and its core business asset was the Bertin FIP shares. Tinto’s

creditors did not know—and did not provide any form of consent—when these Defendants

acquired Tinto’s shares of Bertin FIP, and thus its ownership of the tangible assets these shares




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represented. As a result of the transfers, Tinto was left without sufficient assets to satisfy the

claims of its creditors.

        128.    109. To remedy this violation of Article 129, VI, of the Brazilian Bankruptcy

Law, Plaintiff respectfully requests that this Court order these Defendants to immediately revert

the parties to their status prior to the Share-Transfer Agreements. as requested in the Prayer for

Relief seeking rescission.12 Alternatively, the Court should order a constructive trust over the

Bertin FIP shares as requested in the Prayer for Relief.

        129.    With respect to this cause of action, this Court has general jurisdiction as to

Defendant Colorado Investment Holdings LLC. Colorado is a domestic limited-liability

company organized and existing under the laws of the State of Delaware. Colorado is therefore

at home in the United States and the court can adjudicate any and all claims brought against it.

        130.    With respect to this cause of action, the Court has specific jurisdiction as to

Defendants Colorado Investment Holdings LLC, J&F Investimentos S.A., JJMB Participações

Ltda., WWMB Participações Ltda., Joesley Batista, and Wesley Batista because these

Defendants purposefully availed themselves of the privilege of conducting activities in the

United States and the claim arises out of or relates to Defendants’ contacts with the United

States. Among other things:

                a.         The Batistas intentionally used a U.S. bank to create a U.S. company to

                           divert Tinto’s assets and hide their illicit gains from the share-transfer

                           agreements.



        12
          Under Brazilian law, the appropriate remedy for the ineffectiveness of the transfer of
establishment would not be referred to as “rescission,” which refers to a different remedy in
Brazil. Nonetheless, the substantive remedy—a declaration that the transfer is ineffective and
the return of the parties to the status quo before the transfer—is equivalent to rescission as that
term is used in the United States.
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 b.    Joesley Batista (JBS’s CEO) used bankers at J.P. Morgan in New York to

       create Colorado in Delaware, a U.S. entity through which the Batistas

       (JBS’s majority owners) would loot Tinto of its assets (shares of Bertin

       FIP that represent an interest in JBS) to increase their majority ownership

       of JBS.

 c.    The First and Second Share Transfer Agreements transferred shares of

       Bertin FIP to Colorado, a U.S. entity.

 d.    During and after the transactions, the Batistas took active steps to hide the

       truth about the scheme from JBS’s investors, including U.S. investors in

       its American Depositary Receipts, which traded on the New York Stock

       Exchange.

 e.    On information and belief, in connection with the share-transfer scheme,

       the Batistas traveled to and were physically present in the United States

       many times, including in their capacities as officers and directors of

       Defendants J&F Investimentos S.A., JJMB Participações Ltda., and/or

       WWMB Participações Ltda., as well as the ultimate beneficial owners of

       Colorado, making the United States familiar territory and a convenient

       forum. On information and belief, the Batistas continue to travel to the

       U.S. regularly. A private jet registered to J&F, and used almost

       exclusively by the Batistas, has made 22 trips to cities in the United States

       in the past year.

 f.    On October 14, 2020, J&F entered a guilty plea in United States v. J&F

       Investimentos SA, No. 20-cr-00365 (MKB) (E.D.N.Y.), in which the



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       agreed Statement of Facts states that J&F, in the persons of Joesley and

       Wesley Batista, traveled to the United States, and used New York

       financial institutions and bank accounts in furtherance of a bribery

       conspiracy in violation of the Foreign Corrupt Practices Act, including by

       opening accounts in New York and purchasing property in the United

       States that was then given to Brazilian officials.

 g.    Together, the Batistas are among the largest shareholders in Pilgrim’s

       Pride, and, on February 8, 2024, were appointed as directors of that

       company. Pilgrim’s Pride stated that they will bring “expertise in protein

       production operations,” “extensive operational expertise,” and “business

       management experience to the company.” The Batistas only acquired

       their substantial ownership interest in Pilgrim’s Pride as a result of the

       transfer scheme.

 h.    The Batistas also have been directors of JBS since 2024.

 i.    On information and belief, Joesley Batista borrowed money from J.P.

       Morgan in New York to purchase shares in Defendant JBS S.A.

 j.    The Batistas have owned property in the United States (and discovery is

       likely to show that they still do own some or all of this property),

       including:

       (i)    Through JBS, the Batistas have a significant stake in JBS

       Wisconsin Properties, LLC, a Wisconsin corporation, with its principal

       address in Greeley, Colorado.




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       (ii)    As of at least 2016 and 2017, respectively, Wesley and Joesley

       Batista each owned 50% of the equity in J&F USA Capital LLC, a

       Delaware company.

       (iii)   Through J&F, the Batistas acquired a $4.75 million condominium

       in Miami in 2017.

       (iv)    Joesley and Wesley Batista were listed in filings for 2015 and 2016

       with the Illinois Secretary of State as managers of JBS Live Pork LLC,

       registered in Illinois, with their address shown as 1770 Promontory Circle,

       Greeley, Colorado.

       (v)     Joesley Batista has owned during the relevant period all or part of

       PH 20 West 53rd LLC, a New York LLC formed on or about May 26,

       2016. PH 20 West 53rd LLC purchased a $42,500,000 penthouse

       apartment at 28 West 53rd Street in Manhattan on June 9, 2016.

       (vi)    Joesley Batista has also owned during the relevant period all or

       part of PH 641 Holdings LLC, a Delaware LLC formed on or about June

       19, 2012. PH 641 Holdings LLC purchased a $14,000,000 penthouse

       apartment at 641 5th Avenue in Manhattan on August 22, 2012, which it

       sold in 2018 for $15,150,000.

       (vii) Shortly before entering a plea agreement in Brazil relating to the

       aforementioned bribery scheme, Joesley Batista moved his superyacht,

       “Why Not,” to Miami. It appears currently to be available for charter for

       $24,000 per week.




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       (viii) Wesley Batista maintains a residence in Colorado, which he

       periodically lived in and frequently visits for business and personal

       reasons.

       (ix)   Wesley Batista during the relevant period maintained a United

       States bank account with Wells Fargo, which, in 2016, held more than

       $40,000.

 k.    The Batistas and Defendants J&F Investimentos S.A., JJMB Participações

       Ltda., and WWMB Participações Ltda. are one and the same. Both

       Batistas are officers and directors of J&F; Joesley is an officer and director

       of JJMB (which bears his initials and serves as his personal investment

       vehicle); and Wesley is an officer and director of WWMB (which is his

       eponymous investment vehicle). JBS has publicly stated that “J&F is

       controlled by” and “wholly owned by [JBS’s] ultimate controlling

       shareholders, Messrs. Joesley Mendonça Batista and Wesley Mendonça

       Batista.” Each Batista brother owns 99.999% of JJMB or WWMB. J&F,

       JJMB, and WWMB were vital to the share-transfer scheme, which was

       focused and reliant on the United States. J&F was a signatory to the initial

       secret merger agreement, conducted one of the share transfers, and helped

       conceal the entire scheme. And JJMB and WWMB provided J&F a place

       to stash its illicitly acquired shares from the Third Share-Transfer

       Agreement shortly after it occurred.

 l.    The scheme to take Tinto’s billions of dollars in assets for next to nothing

       also facilitated the Batistas expansion into the U.S. It allowed the Batistas



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                       (through JBS) to acquire Bertin S.A.’s U.S. operations. And it provided

                       the Batistas a means to ensure they maintained majority control over JBS

                       as it gobbled up more U.S. companies. In its press release announcing the

                       Bertin S.A. merger, the Batistas made clear that the merger depended on

                       JBS getting $2.5 billion (subsequently revised down to $2 billion) to fund

                       its acquisition of American poultry giant Pilgrim’s Pride Corporation—

                       which it did, thanks to the bribery payments Joesley Batista admitted to

                       making using a U.S. account.

                         SIXTH CAUSE OF ACTION:
          PIERCING OF THE CORPORATE VEIL UNDER BRAZILIAN LAW

       131.    110. Plaintiff brings this cause of action against Defendants Colorado Investment

Holdings LLC, Joesley Batista, Wesley Batista, JBS S.A., J&F Investimentos S.A., JJMB

Participações Ltda., and WWMB Participações Ltda., Joesley Batista, and Wesley Batista.

       132.    111. Plaintiff repeats and re-alleges the paragraphs above as if fully stated herein.

       133.    112. Under Article 50 of the Brazilian Civil Code and Article 82-A, Sole

Paragraph, of the Brazilian Bankruptcy Law, Plaintiff may bring a claim to hold areach the assets

of a bankrupt corporation’s owners, controllers, and administrators—as well as third parties—

personally liable in accordance with Article 50 of the Brazilian Civil Codeto satisfy the creditor’s

claims. A claim under Article 50 requires that the defendants misused the purpose of the

bankrupt company or abused of the legal personality of the bankrupt company. The legal

personality of a company can be abused through aeither deviation of purpose or commingling of

assets, including a transfer of assets without effective compensation. It can also be abused in

cases of diversion of purpose, such as when. Deviation of purpose includes the use of the legal

entity is used to harm creditors or for the commission of an unlawful act. And commingling of


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assets includes a transfer of assets without effective compensation.

        134.    113. As outlined above, Defendants misused Tinto’s purpose by diverting Tinto’s

greatest asset to the detriment of the estate and its creditors as part of an unlawful scheme.

Likewise, Defendants abused Tinto’s legal personalitypersons by unlawfully causing the transfer

of Tinto’s assets—its shares of Bertin FIP—without effective compensation, at the expense of

Tinto’s creditors.

        135.    114. The Batistas directed Tinto to transfer its stake in Bertin FIP—worth R$8.76

billion (USD$4.84 billion)—for very little in return. This transfer without effective

compensation fell within the purview of Article 50 as a clear commingling of assets. Colorado,

JBS, J&F, JJMB, and WWMB also contributed to this commingling of assets. Colorado—

disguised as a third-party entity—and J&F received the shares and paid nothing in return. JBS

legitimized the planned transfer to the public by misleading the public about the merger’s true

structure, treating the acquisition of Bertin S.A. as a run-of-the-mill merger rather than a scheme

to enrich JBS’s principals at the expense of Tinto’s creditors. JJMB and WWMB, for their part,

are alter egos of Joesley Batista, Wesley Batista, and J&F. Joesley Batista, Wesley Batista, and

J&F quickly shuffled the shares of Bertin FIP they acquired in the Third Share Transfer into

JJMB and WWMB. As these facts demonstrate, Tinto and Defendants were members of the

same economic group for the purposes of the transactions underlying this lawsuit.

        136.    115. As a result of Defendants’ misuse of Tinto’s purpose and abuse of Tinto’s

personality, Tinto’s creditors were harmed by Tinto’s financial decline, incurred liability, and

insolvency. Had Defendants not caused Tinto to unlawfully transfer its greatest asset, or had

Defendants appropriately compensated Tinto for that asset, then Tinto would have been able to

pay its creditors.



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       137.    116. Joesley Batista, Wesley Batista, Colorado, J&F, JJMB, and WWMB all

benefitted from their abuse of Tinto’s legal personality by obtaining the valuable shares without

paying market value. They also benefitted because the Batistas increased their equity in JBS.

JBS, in turn, benefitted by knocking out one of its competitors in Brazil, and by receiving all of

the assets (such as farms, cattle, and brand names) that used to belong to Tinto.

       138.    117. Accordingly, each of these Defendants are liable to Plaintiff for the reliefall

debts sought by this lawsuitTinto’s creditors as requested in the Prayer for Relief.

       139.    With respect to this cause of action, this Court has general jurisdiction as to

Defendants Colorado Investment Holdings LLC and JBS S.A. Colorado is a domestic limited-

liability company organized and existing under the laws of the State of Delaware. JBS has

continuous and systematic contacts with the United States. For example, JBS receives fifty

percent of its revenue from the United States—more than three times as much revenue than it

receives from its place of incorporation; the United States is, by far, JBS’s biggest market; JBS

has represented in filings related to its upcoming listing of shares on the N.Y. Stock Exchange

that it has significant ties to the U.S. market, including by naming the United States as a key

geographical location where it operates its business; JBS seeks to list its shares on the N.Y. Stock

Exchange, the flagship stock exchange located in the country where JBS does most of its

business; JBS is a publicly traded company with American Depositary Shares currently trading

in the U.S. over-the-counter securities market; and over a quarter of JBS’s global workforce is in

the United States. Colorado and JBS are therefore at home in the United States and the court can

adjudicate any and all claims brought against them.

       140.    With respect to this cause of action, the Court has specific jurisdiction as to

Defendants Colorado Investment Holdings LLC, JBS S.A., J&F Investimentos S.A., JJMB



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Participações Ltda., WWMB Participações Ltda., Joesley Batista, and Wesley Batista because

these Defendants purposefully availed themselves of the privilege of conducting activities in the

United States and the claim arises out of or relates to Defendants’ contacts with the United

States. Among other things:

               a.     The Batistas intentionally used a U.S. bank to create a U.S. company to

                      divert Tinto’s assets and hide their illicit gains from the share-transfer

                      agreements.

               b.     Joesley Batista (JBS’s CEO) used bankers at J.P. Morgan in New York to

                      create Colorado in Delaware, a U.S. entity through which the Batistas

                      (JBS’s majority owners) would loot Tinto of its assets (shares of Bertin

                      FIP that represent an interest in JBS) to increase their majority ownership

                      of JBS. Joesley Batista was acting on Behalf of JBS as its CEO and the

                      J.P. Morgan bankers he instructed were JBS’s bankers in New York.

               c.     The First and Second Share Transfer Agreements transferred shares of

                      Bertin FIP to Colorado, a U.S. entity.

               d.     During and after the transactions, the Batistas took active steps to hide the

                      truth about the scheme from its investors, including U.S. investors in its

                      American Depositary Receipts, which traded on the New York Stock

                      Exchange. The Batistas actions and statements to hide this scheme were

                      all performed on behalf of JBS.

               e.     On information and belief, in connection with the share-transfer scheme,

                      the Batistas traveled to and were physically present in the United States

                      many times, including in their capacities as officers and directors of



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       Defendants JBS S.A., J&F Investimentos S.A., JJMB Participações Ltda.,

       and/or WWMB Participações Ltda., as well as the ultimate beneficial

       owners of Colorado, making the United States familiar territory and a

       convenient forum. On information and belief, the Batistas continue to

       travel to the U.S. regularly. A private jet registered to J&F, and used

       almost exclusively by the Batistas, has made 22 trips to cities in the United

       States in the past year.

 f.    On October 14, 2020, J&F entered a guilty plea in United States v. J&F

       Investimentos SA, No. 20-cr-00365 (MKB) (E.D.N.Y.), in which the

       agreed Statement of Facts states that J&F, in the persons of Joesley and

       Wesley Batista, traveled to the United States, and used New York

       financial institutions and bank accounts in furtherance of a bribery

       conspiracy in violation of the Foreign Corrupt Practices Act, including by

       opening accounts in New York and purchasing property in the United

       States that was then given to Brazilian officials.

 g.    Together, the Batistas are among the largest shareholders in Pilgrim’s

       Pride, and, on February 8, 2024, were appointed as directors of that

       company. Pilgrim’s Pride stated that they will bring “expertise in protein

       production operations,” “extensive operational expertise,” and “business

       management experience to the company.” The Batistas only acquired

       their substantial ownership interest in Pilgrim’s Pride as a result of the

       transfer scheme.

 h.    The Batistas also have been directors of JBS since 2024.



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 i.    On information and belief, the Batistas—acting on behalf of JBS—

       continue to have contacts with the United States relating to JBS’s planned

       listing of shares on the New York Stock Exchange.

 j.    On information and belief, Joesley Batista borrowed money from J.P.

       Morgan in New York to purchase shares in Defendant JBS S.A.

 k.    The Batistas have owned property in the United States (and discovery is

       likely to show that they still do own some or all of this property),

       including:

       (i)     Through JBS, the Batistas have a significant stake in JBS

       Wisconsin Properties, LLC, a Wisconsin corporation, with its principal

       address in Greeley, Colorado.

       (ii)    As of at least 2016 and 2017, respectively, Wesley and Joesley

       Batista each owned 50% of the equity in J&F USA Capital LLC, a

       Delaware company.

       (iii)   Through J&F, the Batistas acquired a $4.75 million condominium

       in Miami in 2017.

       (iv)    Joesley and Wesley Batista were listed in filings for 2015 and 2016

       with the Illinois Secretary of State as managers of JBS Live Pork LLC,

       registered in Illinois, with their address shown as 1770 Promontory Circle,

       Greeley, Colorado.

       (v)     Joesley Batista has owned during the relevant period all or part of

       PH 20 West 53rd LLC, a New York LLC formed on or about May 26,




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       2016. PH 20 West 53rd LLC purchased a $42,500,000 penthouse

       apartment at 28 West 53rd Street in Manhattan on June 9, 2016.

       (vi)   Joesley Batista has also owned during the relevant period all or

       part of PH 641 Holdings LLC, a Delaware LLC formed on or about June

       19, 2012. PH 641 Holdings LLC purchased a $14,000,000 penthouse

       apartment at 641 5th Avenue in Manhattan on August 22, 2012, which it

       sold in 2018 for $15,150,000.

       (vii) Shortly before entering a plea agreement in Brazil relating to the

       aforementioned bribery scheme, Joesley Batista moved his superyacht,

       “Why Not,” to Miami. It appears currently to be available for charter for

       $24,000 per week.

       (viii) Wesley Batista maintains a residence in Colorado, which he

       periodically lived in and frequently visits for business and personal

       reasons.

       (ix)   Wesley Batista during the relevant period maintained a United

       States bank account with Wells Fargo, which, in 2016, held more than

       $40,000.

 l.    The Batistas and Defendants J&F Investimentos S.A., JJMB Participações

       Ltda., and WWMB Participações Ltda. are one and the same. Both

       Batistas are officers and directors of J&F; Joesley is an officer and director

       of JJMB (which bears his initials and serves as his personal investment

       vehicle); and Wesley is an officer and director of WWMB (which is his

       eponymous investment vehicle). JBS has publicly stated that “J&F is



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       controlled by” and “wholly owned by [JBS’s] ultimate controlling

       shareholders, Messrs. Joesley Mendonça Batista and Wesley Mendonça

       Batista.” Each Batista brother owns 99.999% of JJMB or WWMB. J&F,

       JJMB, and WWMB were vital to the share-transfer scheme, which was

       focused and reliant on the United States. J&F was a signatory to the initial

       secret merger agreement, conducted one of the share transfers, and helped

       conceal the entire scheme. And JJMB and WWMB provided J&F a place

       to stash its illicitly acquired shares from the Third Share-Transfer

       Agreement shortly after it occurred.

 m.    The scheme to take Tinto’s billions of dollars in assets for next to nothing

       also facilitated JBS’s (and in turn the Batistas) expansion into the U.S. It

       allowed the Batistas (through JBS) to acquire Bertin S.A.’s U.S.

       operations. And it provided the Batistas a means to ensure they

       maintained majority control over JBS as it gobbled up more U.S.

       companies. In its press release announcing the Bertin S.A. merger, the

       Batistas made clear that the merger depended on JBS getting $2.5 billion

       (subsequently revised down to $2 billion) to fund its acquisition of

       American poultry giant Pilgrim’s Pride Corporation—which it did, thanks

       to the bribery payments Joesley Batista admitted to making using a U.S.

       account.

 n.    JBS is now seeking to list its shares on the N.Y. Stock Exchange. The

       Batistas only have a controlling interest in JBS, such that they can direct

       this action, because of this scheme to take Tinto’s interest in JBS.



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                   SEVENTH CAUSE OF ACTION:
 COMPENSATION FOR THE DAMAGES CAUSED BY THE ILLICIT ACTS UNDER
                        BRAZILIAN LAW

       141.    118. Plaintiff brings this cause of action against Defendants Colorado Investment

Holdings LLC, Joesley Batista, Wesley Batista, J&F Investimentos S.A., JJMB Participações

Ltda., and WWMB Participações Ltda., Joesley Batista, and Wesley Batista.

       142.    119. Plaintiff repeats and re-alleges the paragraphs above as if fully stated herein.

       143.    120. Article 186 of the Brazilian Civil Code imposes liability where a defendant

undertook an illicit act either negligently or with the intention to cause damage (i.e., willful

misconduct), that violates the plaintiff ’s rights, causing damage. Article 187 of the Brazilian

Civil Code extends liability to the holder of a right who, in exercising it, clearly exceeds the

limits imposed by its economic or social purpose, good faith, or good customs. Article 927 of

the Brazilian Civil Code states that a party whose illicit acts damage others is obliged to pay

damages.

       144.    121. As detailed above, in September 2020, the Brazilian tax authority assessed

R$1,079,096,994.18 (USD$218,493,762.49) in taxes against Tinto for transferringplacing its

shares of Bertin S.A. into Bertin FIP and then transferring them for next to nothing. Colorado,

Joesley Batista, Wesley Batista, J&F, JJMB, and WWMB caused Tinto to enter into the relevant

agreements, which were structured to avoid tax liability, even though Tinto obtained no

economic benefit in these transactions. These Defendants clearly acted not only negligently but

deliberately in the structuring, signing, and performance of such Share Transfer Agreements. By

directing Tinto in this manner, these Defendants manifestly exceeded the limits imposed by the

economic and social purposes of the rights they held with respect to Tinto, absent good faith or

good custom. These Defendants acted with intent to avoid paying taxes, which ultimately

damaged Tinto for their own benefit.

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       145.    122. The tax authority also fined Tinto R$2,479,020,315.70

(USD$501,947,905.50) for failing to disclose the true nature of the sale and failing to timely pay

taxes. To this day, Tinto continues to accrue interest on the tax liability and fines, which already

totals over R$1,604,131,636.69 (USD$324,801,902.6).

       146.    123. As a result of the foregoing, Plaintiff has been damaged by the actions of

Colorado, Joesley Batista, Wesley Batista, J&F, JJMB, and WWMB in an amount equal to the

liability imposed on it—to date, R$5,162,248,946.57 (USD$1,045,243,570.62). Accordingly,

these Defendants are liable to Plaintiff for that damage as requested in the Prayer for Relief.

       147.    With respect to this cause of action, this Court has general jurisdiction as to

Defendant Colorado Investment Holdings LLC. Colorado is a domestic limited-liability

company organized and existing under the laws of the State of Delaware. Colorado is therefore

at home in the United States and the court can adjudicate any and all claims brought against it.

       148.    With respect to this cause of action, the Court has specific jurisdiction as to

Defendants Colorado Investment Holdings LLC, J&F Investimentos S.A., JJMB Participações

Ltda., WWMB Participações Ltda., Joesley Batista, and Wesley Batista because these

Defendants purposefully availed themselves of the privilege of conducting activities in the

United States and the claim arises out of or relates to Defendants’ contacts with the United

States. Among other things:

               a.      The Batistas intentionally used a U.S. bank to create a U.S. company to

                       divert Tinto’s assets and hide their illicit gains from the share-transfer

                       agreements.

               b.      Joesley Batista (JBS’s CEO) used bankers at J.P. Morgan in New York to

                       create Colorado in Delaware, a U.S. entity through which the Batistas



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       (JBS’s majority owners) would loot Tinto of its assets (shares of Bertin

       FIP that represent an interest in JBS) to increase their majority ownership

       of JBS.

 c.    The First and Second Share Transfer Agreements transferred shares of

       Bertin FIP to Colorado, a U.S. entity.

 d.    During and after the transactions, the Batistas took active steps to hide the

       truth about the scheme from JBS’s investors, including U.S. investors in

       its American Depositary Receipts, which traded on the New York Stock

       Exchange.

 e.    On information and belief, in connection with the share-transfer scheme,

       the Batistas traveled to and were physically present in the United States

       many times, including in their capacities as officers and directors of

       Defendants J&F Investimentos S.A., JJMB Participações Ltda., and/or

       WWMB Participações Ltda., as well as the ultimate beneficial owners of

       Colorado, making the United States familiar territory and a convenient

       forum. On information and belief, the Batistas continue to travel to the

       U.S. regularly. A private jet registered to J&F, and used almost

       exclusively by the Batistas, has made 22 trips to cities in the United States

       in the past year.

 f.    On October 14, 2020, J&F entered a guilty plea in United States v. J&F

       Investimentos SA, No. 20-cr-00365 (MKB) (E.D.N.Y.), in which the

       agreed Statement of Facts states that J&F, in the persons of Joesley and

       Wesley Batista, traveled to the United States, and used New York



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       financial institutions and bank accounts in furtherance of a bribery

       conspiracy in violation of the Foreign Corrupt Practices Act, including by

       opening accounts in New York and purchasing property in the United

       States that was then given to Brazilian officials.

 g.    Together, the Batistas are among the largest shareholders in Pilgrim’s

       Pride, and, on February 8, 2024, were appointed as directors of that

       company. Pilgrim’s Pride stated that they will bring “expertise in protein

       production operations,” “extensive operational expertise,” and “business

       management experience to the company.” The Batistas only acquired

       their substantial ownership interest in Pilgrim’s Pride as a result of the

       transfer scheme.

 h.    The Batistas also have been directors of JBS since 2024.

 i.    On information and belief, Joesley Batista borrowed money from J.P.

       Morgan in New York to purchase shares in Defendant JBS S.A.

 j.    The Batistas have owned property in the United States (and discovery is

       likely to show that they still do own some or all of this property),

       including:

       (i)    Through JBS, the Batistas have a significant stake in JBS

       Wisconsin Properties, LLC, a Wisconsin corporation, with its principal

       address in Greeley, Colorado.

       (ii)   As of at least 2016 and 2017, respectively, Wesley and Joesley

       Batista each owned 50% of the equity in J&F USA Capital LLC, a

       Delaware company.



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       (iii)   Through J&F, the Batistas acquired a $4.75 million condominium

       in Miami in 2017.

       (iv)    Joesley and Wesley Batista were listed in filings for 2015 and 2016

       with the Illinois Secretary of State as managers of JBS Live Pork LLC,

       registered in Illinois, with their address shown as 1770 Promontory Circle,

       Greeley, Colorado.

       (v)     Joesley Batista has owned during the relevant period all or part of

       PH 20 West 53rd LLC, a New York LLC formed on or about May 26,

       2016. PH 20 West 53rd LLC purchased a $42,500,000 penthouse

       apartment at 28 West 53rd Street in Manhattan on June 9, 2016.

       (vi)    Joesley Batista has also owned during the relevant period all or

       part of PH 641 Holdings LLC, a Delaware LLC formed on or about June

       19, 2012. PH 641 Holdings LLC purchased a $14,000,000 penthouse

       apartment at 641 5th Avenue in Manhattan on August 22, 2012, which it

       sold in 2018 for $15,150,000.

       (vii) Shortly before entering a plea agreement in Brazil relating to the

       aforementioned bribery scheme, Joesley Batista moved his superyacht,

       “Why Not,” to Miami. It appears currently to be available for charter for

       $24,000 per week.

       (viii) Wesley Batista maintains a residence in Colorado, which he

       periodically lived in and frequently visits for business and personal

       reasons.




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       (ix)   Wesley Batista during the relevant period maintained a United

       States bank account with Wells Fargo, which, in 2016, held more than

       $40,000.

 k.    The Batistas and Defendants J&F Investimentos S.A., JJMB Participações

       Ltda., and WWMB Participações Ltda. are one and the same. Both

       Batistas are officers and directors of J&F; Joesley is an officer and director

       of JJMB (which bears his initials and serves as his personal investment

       vehicle); and Wesley is an officer and director of WWMB (which is his

       eponymous investment vehicle). JBS has publicly stated that “J&F is

       controlled by” and “wholly owned by [JBS’s] ultimate controlling

       shareholders, Messrs. Joesley Mendonça Batista and Wesley Mendonça

       Batista.” Each Batista brother owns 99.999% of JJMB or WWMB. J&F,

       JJMB, and WWMB were vital to the share-transfer scheme, which was

       focused and reliant on the United States. J&F was a signatory to the initial

       secret merger agreement, conducted one of the share transfers, and helped

       conceal the entire scheme. And JJMB and WWMB provided J&F a place

       to stash its illicitly acquired shares from the Third Share-Transfer

       Agreement shortly after it occurred.

 l.    The scheme to take Tinto’s billions of dollars in assets for next to nothing

       also facilitated the Batistas expansion into the U.S. It allowed the Batistas

       (through JBS) to acquire Bertin S.A.’s U.S. operations. And it provided

       the Batistas a means to ensure they maintained majority control over JBS

       as it gobbled up more U.S. companies. In its press release announcing the



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               Bertin S.A. merger, the Batistas made clear that the merger depended on

               JBS getting $2.5 billion (subsequently revised down to $2 billion) to fund

               its acquisition of American poultry giant Pilgrim’s Pride Corporation—

               which it did, thanks to the bribery payments Joesley Batista admitted to

               making using a U.S. account.

                             PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:

A.     Entry of an order requiring the imposition of a constructive trust in favor of

       Plaintiff over all shares representing an ownership interest in JBS derived by

       DefendantsColorado, J&F, JJMB, WWMB, Joesley Batista, and Wesley Batista

       under the unlawful transactions alleged above, to prevent unjust enrichment to

       Defendants, and an order that suchthe shares representing that ownership interest

       be paid over and transferred to Plaintiff in full;. Such a constructive trust over the

       unlawfully obtained ownership interest in JBS may be accomplished through a

       constructive trust over the Bertin FIP shares transferred to and owned by

       Colorado and the Bertin FIP shares transferred to J&F and now owned by JJMB

       and WWMB (for the benefit of Joesley and Wesley Batista). It may also be

       accomplished through a constructive trust over the Batistas’ ownership interests in

       Colorado, JJMB, and WWMB, which in turn hold the Bertin FIP shares;

B.     Entry of an order for rescission of the Share Transfer Agreements, thereby

       returning all Parties to the status quo prior to the transactions;

C.     B. Entry of an order awarding damages for the tax liability and fines Tinto

       incurred because of Defendants’the actions of Colorado, J&F, JJMB, WWMB,

       Joesley Batista, and Wesley Batista;

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      D.     C. Entry of an order holding DefendantsColorado, J&F, JJMB, WWMB, Joesley

             Batista, Wesley Batista, and JBS liable for theall debts soughtclaimed by Tinto’s

             creditors;

      E.     D. Awarding Plaintiff all damages according to proof; and

      F.     E. Any other relief that the Court may deem just and proper.

                                       JURY DEMAND

             Plaintiff hereby demands a trial by jury of all issues properly triable.

Dated: September 8, 2023October 17, 2024                             Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was sent via electronic

filing using the CM/ECF system with the Clerk of the Court which sent e-mail notification of such

filing to all CM/ECF participants in this case, as indicated on the service list on September 8,

2023October 17, 2024.

                                                           /s/ Nyana Abreu Miller
                                                           Nyana Abreu Miller


                                        SERVICE LIST

23-11719-MAM Notice will be electronically mailed to:

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